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 Mary Basile Logan
 Post Office Box 5237
 Clinton, New Jersey 08809


                                UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW JERSEY



 MARY BASILE LOGAN, individually and on behalf                |
 of those similarly situated, Pro-Se;                          |
                                                               |
                                Plaintiff,                     |
                                                               |
 MERRICK GARLAND, in his official capacity                    |
 Attorney General, Department of Justice;                      |
                                                               |
 LLOYD AUSTIN, III, in his official capacity as the           |
 Secretary, Department of Defense;                             |
                                                               |
 WILLIAM J. BURNS, in his official capacity as the            |
 Director, Central Intelligence Agency;                        |
                                                               |
 CHRISTOPHER A. WRAY, in his official capacity                |
 as the Director of the Federal Bureau of Investigation;       |
                                                               |
 DENIS RICHARD MCDONOUGH, in his official                     |
 capacity as Secretary of Veterans Affairs;                    |
                                                               |
 ALEJANDRO MAYORKAS, in his official capacity as              |
 Secretary, U.S. Department of Homeland Security;              |
                                                               |
 MARCIA L. FUDGE, in her former capacity as Secretary |
 U.S. Department of Housing and Urban Development;             |
                                                               |
 ROBERT CALIFF, in his capacity as Commissioner ,             |
 Food and Drug Administration;                                 |
                                                               |
 WILLIAM J. CLINTON, in his official capacity as the          |
 former President of the United States of America;             |
                                                               |
 HILLARY R. CLINTON, in her official capacity as              |
 former Secretary of State for the United States of America; |
                                                               |
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 THOMAS KEAN, Sr., in his former capacity as Chairman |
 9/11 Commission;                                        |
                                                         |
 ROBERT MUELLER, in his former capacity as Director |
 of the Federal Bureau of Investigation;                 |
                                                         |
 JAMES COMEY, in his former capacity as Director         |
 of the Federal Bureau of Investigation;                 |
                                                         |
 CHRISTOPHER J. CHRISTIE, in his capacity as the         |
 former-Governor of New Jersey;                          |
                                                         |
 RICHARD “DICK” CHENEY, in his former capacity           |
 as Vice President of the United States;                 |
                                                         |
 ELIZABETH “LIZ” CHENEY, in her former capacity          |
 as Chair, January 6 Commission;                         |
                                                         |
 JOHN KERRY, in his official capacity as U.S. Special    |
 Presidential Envoy for Climate;                         |
                                                         |
 GEORGE W. BUSH, in his former capacity as               |
 President of the United States;                         |
                                                         |
 BARACK HUSSEIN OBAMA, in his former capacity as |
 President of the United States;                         |
                                                         |
 LORETTA LYNCH, in her former capacity as                |
 United States Attorney General;                         |
                                                         |
 JAMES BAKER, in his former capacity as White House |CIVIL DOCKET: 3:24-CV-00040
 Chief of Staff;                                         | ZNQ-TJB
                                                         |
 ERIC HOLDER, in his former capacity as United States |
 Attorney General;                                       |
                                                         |
 JOSEPH R. BIDEN, in his official capacity as President, |
 his former capacities as Vice President and Senator, of |
 these United States;                                    |
                                                         |
 JOHN ASHCROFT, in his former official capacity,         |
 as United States Attorney General;                      |
                                                         |
 JAMIE GORELICK, in her official capacity, Homeland      |
 Security Advisory Council member;                       |
                                                         |


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 NANCY PELOSI, in her official capacity as                  |
 Congresswoman (CA);                                        |
                                                            |
 GEORGE NORCROSS, in his capacity as Chairman,              |
 Cooper University Medical Systems;                         |
                                                            |
 PHILIP MURPHY, in his official capacity as Governor        |
 of New Jersey, and as former Chair of the National         |
 Governors Association (NGA);                               |
                                                            |
 TAHESHA WAY, in her former capacity as Secretary           |
 of State, as former President of the National Association |
 of Secretaries of State, and her current capacity as       |
 Lt. Governor, New Jersey;                                  |
                                                            |
 JUDITH PERSICHILLI, in her official capacity as then- |
 Commissioner of Health for the State of New Jersey;        |
                                                            |
 SEJAL HATHI, in her official capacity as Deputy            |
 Commissioner for Public Health Services;                   |
                                                            |
 MATTHEW PLATKIN, in his official capacity as               |
 Attorney General of the State of New Jersey;               |
                                                            |
 KATHY HOCHUL, in her official capacity as Governor         |
 of New York;                                               |
                                                            |
 ANDREW CUOMO, in his former capacity as Governor |
 of New York and his capacity as Vice-Chair of the National |
 Governors Association;                                     |
                                                            |
 LETITIA JAMES, in her capacity as Attorney General of |
 the State of New York;                                     |
                                                            |
 SUSAN RICE, in her official capacity as United States      |
 Domestic Policy Advisor;                                   |
                                                            |
 ADAM SCHIFF, in his official capacity as Congressman, |
 of the State of California;                                |
                                                            |
 CHARLES “CHUCK” SCHUMER, in his official                   |
 capacity as Senator for the State of New York;             |
                                                            |
 XAVIER BECERRA, in his official capacity as                |
 Secretary of Health and Human Services;                    |
                                                            |


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 JANET YELLEN, in her official as Secretary of               |
 the United States Treasury;                                 |
                                                             |
 ROD ROSENSTEIN, in his former capacity as United            |
 States Deputy Attorney General;                             |
                                                             |
 HUMA ABEDIN, in her former capacity as vice                 |
 Chair of Hillary Clinton;                                   |
                                                             |
 DEBBIE WASSERMAN SCHULTZ, in her current                    |
 capacity as U.S. Representative, (FL-25);                   |
                                                             |
 BILL NELSON, in his official capacity as Administrator      |
 of NASA;                                                    |
                                                             |
 OCCIDENTAL PETROLEUM;                                       |
                                                             |
 UNITED HEALTHCARE;                                          |
                                                             |
 DEMOCRATIC NATIONAL COMMITTEE;                              |
                                                             |
 REPUBLICAN NATIONAL COMMITTEE;                              |
                                                             |
 JAMES PITTINGER, in his official capacity as Mayor          |
 of Lebanon Borough, State of New Jersey;                    |
                                                             |
 LISA SELLA, in her official capacity as Deputy Clerk,       |
 Lebanon Borough, State of New Jersey;                       |
                                                             |
 ROBERT JUNGE, in his official capacity as Municipal         |
 Co-Chair, Republican Party, Lebanon Borough, State of       |
 New Jersey;                                                 |
                                                             |
 JOHN DOES (1-100)                                           |
                                                             |
 JANE DOES (1-100)                                           |
                   Defendants.                               |
 ________________________________________________


                                        INTRODUCTION

    This action is brought against the Defendants in their present and former official capacities.

 The case involves unprecedented constitutional violations conceived by the Defendants as well at



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 their directives, resulting in foreign encroachment, permeating all structural facets which

 comprise these United States including but not limited to the Legislative, Executive and Judicial

 branches. As the complaint counts disclose, through the secured apparatus devised under mask

 of public health emergency, the independent voice of the people, their vote, was expressly

 usurped. Once the election impositions were secured, vote-by-mail through crafted lawfare

 articulated by the acorn-seed structures, the guardrails formerly affirming “certain unalienable

 Rights”1 and protections so endowed by the Creator, God, gave way to the compromised

 structures having secured the means of unchecked, free movement in and among the 3-Branches

 of government. The foregoing was expressly communicated by Defendant, HILLARY R.

 CLINTON on August 25, 2020, “…they have a couple of scenarios that they’re looking toward.

 One is messing up absentee balloting so that they can get a maybe a narrow advantage in the

 electoral college on election day. Joe Biden should not concede under any circumstances

 because I think this is going to drag out, and eventually I do believe he will win if we don’t give

 an inch and if we are as focused and relentless as the other side is.” 2

     Within the scaffolding of the manifest usurpation lay the siege against the American People;

 the Plaintiff was intimately involved as a candidate while volunteering for County, State and

 Federal candidates, by vocation and expert training, she amassed and retained transcript-quality

 repositories from 2019 – present, providing for the content herein. Plaintiff has no attorney,

 despite efforts to secure same, the acorn-seed of non-profits and actors so associated disclosed

 the first of their harms, her Constitutional right to; equipped by God with a knowledge of Natural

 law and public policy, Plaintiff moves to present this action to the Honorable Court expressly



 1
  The Declaration of Independence, Action of Second Continental Congress, July 4, 1776.
 2
  MSNBC News, August 25, 2020. Election Discussion: Hillary R. Clinton (0:14 – 0:48). Accessed March 14, 2023.
 https://youtu.be/bwc0cJ409VQ?si=OxA8H0j0c1wcP_vh

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 following Federal Rules of Civil Procedures while spoken in plain language. In order to

 understand the plant, you must know its root structure; the same holds true of forensic research.

 Plaintiff presents the proverbial root and branch, a very complex parallel journey of extraneous

 parties fixed on greed and self-aggrandization obtained and retained at any cost.

          All obstructions…serve to organize faction, to give it an artificial and extraordinary
          force; to put, in the place of the delegated will of the nation the will of a party, often a
          small but artful and enterprising minority of the community; and, according to the
          alternate triumphs of different parties, to make the public administration the mirror of the
          ill-concerted and incongruous projects of faction, rather than the organ of consistent and
          wholesome plans digested by common counsels and modified by mutual interests…(that)
          in the course of time and things, to become potent engines, by which cunning, ambitious,
          and unprincipled men will be enabled to subvert the power of the People and to usurp for
          themselves the reins of government. 3

     The Bank of Credit and Commerce International (“BCCI”) was subject of appreciative

 investigative hearings in Senate Subcommittee (1991), transcript attached as EXHIBIT 1, “the

 BCCI Affair.” Plaintiff states that the invasive manifestation of BCCI was not extinguished as

 governmental dictates proscribed in 1992 but continued, unabated, in their encroachment

 imposing on every facet of government and private industry. BCCI was not the first foray into

 foreign imposition in domestic affairs, in 1963, the Senate Foreign Relations Committee,

 Chaired by Senator Fulbright examined foreign agents, that investigation a matter of record and

 resulting in amendments to the Foreign Agents Registration Act (1938). 4

     Plaintiff presents this complaint in the format of the perpetrator’s covert actions by Count

 while providing the Honorable Court brief reflections of historical context to aid in navigating

 the complex malignancy to which Plaintiff asserts our sovereign nation has arrived by the



 3
   Straub, Steve (edited by). George Washington’s Farewell Address (1796). The Federalist Papers Project. Accessed January
 25, 2002. https://thefederalistpapers.org/founders/washington/president-george-washingtons-farewell-address-%E2%80%94-
 1796/
 4
   Committee on Foreign Relations United States Senate, November 19, 20 and 21, 1963. To Amend the Foreign Agents
 Registration Act of 1938, as Amended. Accessed March 18, 2024, https://www.cia.gov/readingroom/docs/CIA-
 RDP66B00403R000100070003-9.pdf

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 Defendant’s hands vested towards a determinative outcome; defrauding these United States,

 while obstructing or impairing any and every attempt of its disclosure.

                                              SUMMARY OF ARGUMENT

     1. This lawsuit alleges violations by the Defendants within five (5) distinct areas as outlined

          below:

     2. Article II, Section 3.1.3.1. Take Care Clause, Presidential authority. “It may be presumed that

          he, the man discharging the presidential office, and he alone, grants, reprieves and pardons for

          offenses against the United States…So he, and he alone, is the supreme commander in chief of

          the Army and Navy of the United States, and of the militia of the several States when called

          into the actual service of the United States…No act of Congress, no act even of the President

          himself, can, by constitutional possibility, authorize or create any military officer not

          subordinate to the President…an Establishment by name of office is designatio personae.”5

          The heads of departments are his authorized assistants in the performance of his executive

          duties, and their official acts, promulgated in the regular course of business, are presumptively

          his acts. (See Wilcox v. McConnel, 28 U.S. (13 Pet.) 498, 513 (1839); United States v. Eliason,

          41 U.S. (16 Pet.) 291 (1842); Williams v. United States 42 U.S. (1 How.) 2990, 297 (1843);

          and United States v. Jones, 59 U.S. (18 How.) 92, 95 (1856)).

     3. 18 U.S.C. § 1001. Protection against employees of any department or agency of the United

          States, knowingly or willfully falsifying, concealing or covering up by means of trickery,

          scheme or device a material fact or the act of making any false, fictitious, fraudulent

          statements or representations, or to make or use any false writing or document knowing the

          same to contain any false, fictitious or fraudulent statement or entry; 18 U.S.C. § 1035 False


 5
  Congress.gov. Article II, Section 3 “Who Can Fulfill the Take Care Duty.” Accessed January 2, 2024.
 https://constitution.congress.gov/browse/essay/artII-S3-3-2/ALDE_00000217/['article',%20'1']

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      statements relating to health care matters; 18 U.S.C. § 1038 False information and hoaxes; 18

      U.S.C. §1519 Destruction, alteration, or falsification of records in Federal investigations and

      bankruptcy. (See ex rel. Schutte, et al. v. SuperValu Inc., et al. (Docket No. 21-1326); and Yates

      v. United States, USSC No. 13-7451, 2015 WL 773330 (February 25, 2015); reversing 733

      F.3d 1059 (11th Cir. 2013)).

   4. 18 U.S.C. §§ 2384, 2385. Seditious Conspiracy, the act of conspiring to overthrow, put down,

      or to destroy by force the Government of the United States, or to level war against them or to

      oppose by force the authority thereof, or by force to prevent, hinder, or delay the execution of

      any law of the United States, or by force to seize, take, or possess any property of the United

      States contrary to the authority thereof.

   5. Article III S3.C1.1.2. Treason Clause: Doctrine and Practice. Treason against the United

      States shall consist of levying War against them, or in adhering to their enemies, giving them

      aid and comfort. No person shall be convicted of Treason unless on the testimony of two

      witnesses to the save over Act, or on Confession in Open Court. Chief Justice John Marshall’s

      opinion emphasized, if there was “an actual assemblage of men for the purpose of executing a

      treasonable design,” the Court narrowly focused the scope of the treason by levying war

      against the United States. (See Ex parte Bollman & Swarthout (1807); and Cramer v. United

      States (1945)). Conspiring to defraud the United States means primarily to cheat the

      government of property or funds, but it also means to interfere with or obstruct one of its

      lawful government functions by deceit, craft, or trickery, or at least by means that are

      dishonest. (See Hass v. Henkel, 216 U.S. 462 (1910); and Hammerschmidt v. United States,

      265 U.S. 182 (1924)).

                                             PARTIES



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   6. Defendant, MERRICK GARLAND, in his official capacity as the United States Attorney

      General, subject to 28 U.S.C. § 503. He practiced corporate litigation at Arnold & Porter,

      working as a federal prosecutor in the United States Department of Justice where he

      supervised the Oklahoma City bombing investigation and subsequent prosecution. Serving as

      a Judge of the United States Court of Appeals, District of Columbia Circuit, March 20, 1997 –

      March 11, 2021 appointed by Bill Clinton; appointed to Chief Judge, February 12, 2013 –

      February 11, 2020 succeeded by Ketanji Brown Jackson and preceded by Abner Mikva.

      Appointed to 86th United States Attorney General nominated by Joe Biden, confirmed by the

      Senate.

   7. Defendant, LLOYD AUSTIN, III, serving in his official capacity as Secretary, Department of

      Defense, (“DoD”) subject to 10 U.S.C. § 133. He is a retired United States Army four-star

      general, serving as commander of the United States Forces – Iraq, (September, 2010 –

      December 2011) thereafter as 33rd vice chief of staff of the Army from, (January, 2012 -

      March, 2013) followed by his service as 12th commander of United Stated Central Command,

      (“CENTCOM”) commencing in March, 2013 until his retirement in 2016. He serves on the

      Boards of Raytheon Technologies, Nucor, Tenet Healthcare, and Auburn University. In his

      present role as Secretary of DoD, nominated by Joe Biden and confirmed by the Senate.

   8. Defendant, WILLIAM J. BURNS, serving in his official capacity as Director, Central

      Intelligence Agency, (“CIA”) subject to 50 U.S.C. § 3036. Formerly serving in the United

      States Foreign Service, retiring in 2014. He served as United States deputy secretary of state,

      (2011 – 2014) appointed by Barack Hussein Obama, succeeded by Antony Blinken, preceded

      by James Steinberg. In 2009, he served as acting secretary of state advancing Hillary Clinton’s

      Senate confirmation, appointed by Barack Hussein Obama, succeeded by Hillary Clinton,



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       preceded by Condoleezza Rice. From 2014 – 2021, he served as the president of the Carnegie

       Endowment for International Peace. In his current role as the 8 th CIA Director, assuming

       office on March 19, 2021, appointed by Joe Biden, preceded by Gina Haspel.

    9. Defendant, CHRISTOPHER A. WRAY, serving in his official capacity as Director, Federal

       Bureau of Investigation, (“FBI”) subject to 28 U.S.C. § 532. He served as the Assistant

       United States Attorney, Northern District of Georgia from 1997, moving to the Justice

       Department in 2001 as associate deputy attorney general and principal associate deputy

       attorney general. He was nominated to serve as Assistant Attorney General (Criminal

       Division), June 9, 2003, confirmed by the Senate on September 11, 2003, overseeing the

       investigation of Enron among other criminal matters. In 2004, he was involved in presenting

       finding on the Bush Administration’s warrantless domestic surveillance program under the

       Terrorist Surveillance Program (TSP), same was deemed unconstitutional, subsequent

       controversy resulted, subject of this plea. In 2005, he served as a litigation partner for King &

       Spaulding who would represent Christopher J. Christie during the Bridgegate matter. His firm

       represented Gazprom and Rosneft, Russian energy corporations.

    10. Defendant, DENIS RICHARD MCDONOUGH, serving in his official capacity as Secretary,

       Veterans Affairs, (“VA”) subject to 38 U.S.C. § 303. From 1996 – 1998, he was an aide for the

       United States Committee on Foreign Affairs, focused on Latin America; thereafter serving as

       senior policy advisor to Tom Daschle, followed by his role as legislative director for Senator

       Ken Salazar. In 2004 he served as senior fellow at the Center for American Progress. In 2007,

       he served Senator Barack Hussein Obama’s chief foreign policy advisor replacement for Mark

       Lippert who was called to Iraq in active duty, he would serve as Lippert’s replacement and

       remain in that role advising Barack Hussein Obama during his 2008 presidential campaign, he



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       would remain in that role until 2010. In 2010, he served as the 25 th United States Deputy

       National Security Advisor, (October 20, 2010 – January 20, 2013) appointed by Barack

       Hussein Obama, succeeded by Antony Blinken, preceded by Thomas Donilon, he would serve

       in that role during the SEAL operation in Pakistan which resulted in the death of Osama bin

       Laden. In 2013, he was appointed to White House Chief of Staff by Barack Hussein Obama,

       serving, (January 20, 2013 – January 20, 2017) succeeded by Reince Priebus, preceded by

       Jack Lew. Serving presently as the 11th Secretary of Veterans Affairs, appointed by Joe Biden

       on February 9, 2021, confirmed by the Senate. He is responsible to administer the department

       concerned with veterans’ benefits, health care, and national veterans’ memorials and

       cemeteries.

    11. Defendant, ALEJANDRO MAYORKAS, serving in his capacity as Secretary of Homeland

       Security, ("DHS") subject to 6 U.S.C. § 112. From December 21, 1998 – April 20, 2001, he

       served as the United States Attorney, Central District of California, appointed by Bill Clinton,

       reappointed by George W. Bush. From August 12, 2009 – December 23, 2013, he served as

       Director of United States Citizenship and Immigration Services, appointed by Barack Hussein

       Obama, succeeded by Leon Rodriguez, and preceded by Emilio T. Gonzalez. In this role, he

       implemented the Deferred Action for Childhood Arrivals (“DACA”). On December 23, 2013,

       he was appointed as the 6th United States Deputy Secretary of Homeland Security, appointed

       by Barack Hussein Obama, he would serve in that role until October 28, 2016, succeeded by

       Elaine Duke and preceded by Jane Holl Lute. On February 2, 2021, he was appointed by Joe

       Biden, confirmed by the Senate, and assumed his present role as DHS Secretary.

    12. Defendant, MARCIA L. FUDGE, in her former capacity as Secretary of the Department of

       Housing and Urban Development, (“HUD”) subject to 42 U.S.C. § 3532. She began her



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       career as Director of Budget and Finance in the Cuyahoga County, Ohio tax department,

       serving occasionally as a visiting judge for the tax department as chief referee for arbitration

       matters. From 2000 to November 18, 2008, she served as Warrensville Heights, Ohio Mayor,

       later serving as chief of staff for U.S. Representative Stephanie Tubbs Jones; following Jones’

       passing, she ran by special election for Jones’ seat, completing the existing term. During her

       tenure, she Chaired the Congressional Black caucus from January 3, 2013 to January 3, 2015,

       supporting Nancy Pelosi as Speaker of the House. Presently, she serves as the Secretary of

       HUD, appointed by and reporting to Joe Biden, confirmed by the Senate.

    13. Defendant, ROBERT CALIFF, in his capacity as Commissioner, Food and Drug

       Administration, (“FDA”) subject to 5 U.S.C. § 552(f). Beginning in 2015, he began his career

       as Deputy Commissioner of the United States FDA, office of Medical products and tobacco,

       commencing in January, 2015, an appointment by Barack Hussein Obama, serving until

       January 20, 2017. He was renominated to the FDA by Joe Biden on November 12, 2021,

       confirmed by the Senate on February 15 2022. He is responsible to administer an agency of

       the United States Department of Health and Human Services (“HHS”) with a primary

       responsibility to regulate clinical investigations of drugs and biological products.

    14. Defendant, WILLIAM J. CLINTON, acting in his former capacity as President of these United

       States, (1993 – 2001) formerly serving as Arkansas attorney general commencing (1977 –

       1979) thereafter running for Governor where he served until 1981; he would return as

       Governor in 1983 and serve until 1992. In 1993, he ran with Al Gore for President, defeating

       George H. W. Bush. As president, he served as the head of state and government of the United

       States, directing the Executive branch of the federal government as the Commander in Chief of




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       the United States Armed Forces, subject to the Constitution with a term of four (4) years,

       renewable once, affirmed by election.

    15. Defendant, HILLARY R. CLINTON, acting in the capacity as the former First Lady, Senator

       (New York), and Secretary of State. In her role as first lady, she was responsible primarily for

       the political and social life of the United States, although the position was never codified, it

       runs concurrent with the president’s term in office. Serving as Senator, New York, (2001 –

       2009) preceded by Daniel Patrick Moynihan. As Secretary of State, (2009 – 2013) preceded

       by Condoleezza Rice, appointed by Barack Hussein Obama, subject to 22 U.S.C. § 2651, in

       such capacity she served as minister of foreign affairs in other countries, administrator of the

       Department of State and immigration policy, fourth in line of succession, reporting to the

       president, confirmed by the Senate.

    16. Defendant, THOMAS KEAN, SR., in his former capacity as Chair of the 9/11 Commission,

       (“Commission”) having served as the Governor of New Jersey, (1982 -1990) thereafter as

       President of Drew University (1990-2005), he was appointed to Chair the 9/11 Commission by

       George W. Bush, preceded by Henry Kissinger, serving (December 15, 2002 – August 21,

       2004), the time of the Commission’s abolishment. Thereafter serving as President of the

       Carnegie Corporation, (April 15, 2021 – January, 2023) preceded by Vartan Gregorian.

    17. Defendant, ROBERT MUELLER, in his former capacity as Director of the Federal Bureau of

       Investigation, (“FBI”) serving prior as U.S. Attorney (MA) (October 10, 1986-April 6, 1987),

       appointed by Ronald Reagan, preceded by Bill Weld. Appointed by George H. W. Bush as

       United States Assistant Attorney General – Criminal Division, serving, (August 1990 –

       January 1993). Serving as United States Attorney, Northern District (CA), (August 1998-

       August 2001) appointed by Bill Clinton, thereafter by George W. Bush, preceded by Michael



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       Yamaguchi. From January 20, 2001 – May 10, 2001, serving as Acting United States Deputy

       Attorney General, appointed by George W. Bush, preceded by Eric Holder. Serving as

       Director of the FBI, (September 4, 2001 – September 4, 2013) appointed by George W. Bush,

       followed by his subsequent appointment from Barack Hussein Obama, proceeded by Louis

       Freeh.

    18. Defendant, JAMES COMEY, in his former capacity as Director of the Federal Bureau of

       Investigation, (“FBI”) serving prior as the United States Attorney, Southern District (NY),

       (January 7, 2002 – December 15, 2003) appointed by George W. Bush, preceded by Mary Jo

       White. Serving as the 31st United States Deputy Attorney General, (December 9, 2003 –

       August 15, 2005) appointed by George W. Bush, preceded by Larry Thompson. Thereafter

       serving as Director of the FBI, (September 4, 2013 – May 9, 2017) appointed first by Barack

       Hussein Obama, followed by Donald J. Trump, preceded by Robert Mueller.

    19. Defendant, CHRISTOPHER J. CHRISTIE, in his capacity as the former Governor of New

       Jersey, serving as a member of Freeholder Board, Morris County, (January 1, 1995 –

       December 31, 1997). Appointed to serve as United States Attorney, District of New Jersey,

       (January 17, 2002 – December 1, 2008) appointed by George W. Bush, preceded by Robert J.

       Cleary. Serving as Governor, New Jersey, January 19, 2010 – January 16, 2018, Chairing the

       Republican Governor’s Association, (November 21, 2013 – November 20, 2014) preceded by

       Bobby Jindal. Appointed to serve as Chair of the Opioid and Drug Abuse Commission,

       (March 29, 2017 – November 1, 2017) by Donald J. Trump.

    20. Defendant, RICHARD “DICK” CHENEY, in his official capacity as Vice President of the

       United Stated, (“VP”) serving as White House Deputy Chief of Staff, (December 18, 1974 –

       November 21, 1975) appointed by Gerald Ford. Appointed to 7 th White House Chief of Staff



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       by Gerald Ford, (November 21, 1975 – January 20, 1977) preceded by Donald Rumsfeld.

       Serving as a member of the U.S. House of Representatives (WY), (January 3, 1979 – March

       20, 1989) preceded by Teno Roncalio. Serving as Chair of the House Republican Conference,

       (June 4, 1987 – January 3, 1989) preceded by Jack Kemp. Serving as House Minority Whip,

       (January 3, 1989 – March 20, 1989) preceded by Trent Lott. Appointed to serve as the 17 th

       United States Secretary of Defense, (March 21, 1989 – January 20, 1993) by George H. W.

       Bush, succeeding Les Aspin, preceded by Frank Carlucci. Serving as Vice President of the

       United States, (January 20, 2001 – January 20, 2009) succeeding Joe Biden, preceded by Al

       Gore, and serving with George W. Bush.

    21. Defendant, ELIZABETH “LIZ” CHENEY, in her official capacity then as a Congresswoman

       (WY), (2017 – 2023) and presently as a professor as the University of Virginia Center for

       Politics.

    22. Defendant, JOHN KERRY, in his official capacity as the United States Secretary of State,

       subject to 22 U.S.C. § 2651. Serving as a member of the United States House of

       Representatives in the Massachusetts 5 th congressional district. He would serve as first

       assistant district attorney in Middlesex County, Massachusetts, (1977 – 1979) thereafter in

       private practice. He ran and served as Lieutenant Governor of Massachusetts, (January 6,

       1983 to January 2, 1985) successfully running for the United States Senate in 1984. During

       his tenure he was a member of the Senate Committee on Foreign Relations investigating

       narcotics trafficking, the Iran-Contra affair, etc. He would chair the Committee, (2009 –

       2013). In January, 2013, he was nominated by Barack Hussein Obama to replace Hillary

       Clinton as Secretary of State, confirmed by the Senate, where he would serve until 2017. He




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       was appointed by Joe Biden as the United States special presidential envoy for climate in

       January, 2021, a role which he presently holds.

    23. Defendant, GEORGE W. BUSH, acting in his former capacity as President of these United

       States, (2001 – 2009). In 1994, he ran successfully for governor of Texas, retaining that

       position until his election as president. Controversy arose during the presidential election,

       requiring the Supreme Court to intervene to stop the hand recount in Florida. During his

       tenure as president, the attack of September 11, 2001 took place, subsequent military conflicts

       in the war on terror resulted as well as structured changes to domestic policy, extending to

       include economic policy.

    24. Defendant, BARACK HUSSEIN OBAMA, acting in his former capacity as President of these

       United States, (2009 - 2017). Serving as an Illinois Senator, (2005 – 2008) and previously as

       an Illinois State Senator, (1997 – 2004) he ran for President in 2008.

    25. Defendant, LORETTA LYNCH, acting in her official capacity as United States Attorney

       General, subject to 28 U.S.C. § 503, an appointed position by Barack Hussein Obama, held

       from, (April 27, 2015 – January 20, 2017) succeeded by Jeff Sessions and preceded by Eric

       Holder; same being subject of Plaintiff’s suit.

    26. Defendant, JAMES BAKER, acting in his official capacity as United States, Secretary of

       State, subject to 22 U.S.C. § 2651. Defendant held the foregoing position having previously

       served in the appointments of Secretary of Commerce, (August 2, 1975 – May 7, 1976)

       Secretary of Treasury, (February 4, 1985 – August 17, 1988) and thereafter, Secretary of State

       under George H. W. Bush, (January 25, 1989 – August 23, 1992). He would serve as chief of

       staff under George H. W. Bush, (August 24, 1992 – January 20, 1993). He would also serve as




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       a United Nations envoy to Western Sahara and a consultant to Enron. He was instrumental in

       the 2000 election management, calling for the hand-count in Florida.

    27. Defendant, ERIC HOLDER, acting in his official capacity as United States, Secretary of State,

       subject to 22 U.S.C. § 2651. Serving in a variety of appointments beginning with the Superior

       Court of the District of Columbia as a Judge, (1988-1993) United States Attorney for the

       District of Columbia, (1993 – 1997) United States Deputy Attorney General, (1997 – 2001)

       Acting United States Attorney General, (January 20, 2001 – February 2, 2001) confirmed by

       the Senate in such capacity serving, (February 3, 2009 – April 27, 2015).

    28. Defendant, JOSEPH R. BIDEN, in his official capacity as President of the United States,

       position held from January 20, 2021 to present. Serving in a variety of elected capacities

       including member of the New Castle County Council, (1971 – 1973) United States Senator,

       Delaware, (1973 -2009) and Vice President of the United States, (2009 – 2017).

    29. Defendant, JOHN ASHCROFT, in his official capacity as United States Attorney General,

       subject to 28 U.S.C. § 503, having previously served in a variety of elected and appointed

       capacities including Auditor for Missouri, (1973-1975) Missouri Attorney General, (1976 –

       1985) Governor of Missouri, (1985 – 1993) serving as Chair of the National Governors

       Association,(1991 – 1992) United States Senator, Missouri, (1995 – 2001) and, thereafter as

       United States Attorney General.

    30. Defendant, JAMIE GORELICK, in her official capacity as Chair of the Homeland Security

       Council, an appointment which she presently serves, commencing on March 21, 2022, at the

       recommendation of Alejandro Mayorkas. Previously serving in a variety of capacities

       beginning with the appointment by Bill Clinton as General Counsel of the Department of

       Defense, (1993 – 1994) United States Deputy Attorney General, (1994 – 1997) and her current



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       appointed thereafter, as above. Defendant served on the 9/11 Commission, an appointment by

       Tom Daschle. She also served as Vice Chairwoman of Fannie Mae, (1997 – 2003).

    31. Defendant, NANCY PELOSI, serving in her official capacity as a U.S. House of

       Representative (CA), a position to which she was elected commencing June 2, 1987 - present.

       Previously serving in a variety of capacities including as Chair for the California Democratic

       Party, (1981 – 1983).

    32. Defendant, GEORGE NORCROSS, in his official capacity as Chairman of the Board of

       Trustees Cooper Health System and Cooper University Hospital, (“Cooper”) under his

       direction, Cooper has expanded to include Cooper Medical School at Rowan University and

       MD Anderson Cancer Center, for which he is a partner. Defendant served as Executive

       Chairman of Conner, Strong & Buckelew, an insurance brokerage firm. In 2015, as an

       investor, he developed the Liberty Property Trust working with Robert A.M. Stern. From 1989

       – 1995, he served as Chairman of the Camden County Democratic Party, remaining influential

       in the New Jersey political landscape where he has been deemed a “party boss”.

    33. Defendant, PHILIP MURPHY, serving in his official capacity as Governor of the State of New

       Jersey, an elected office held from 2018 to present. Previously Defendant served as the United

       States Ambassador to Germany, an appointment by Barack Hussein Obama, serving, (2009 –

       2013) Previously he held a 23-year career with Goldman Sachs, retiring in 2006.

    34. Defendant, TAHESHA WAY, in her official capacity as Lt. Governor of New Jersey, formerly

       as the New Jersey Secretary of State, both positions appointed by the Governor, commencing

       in 2018 to present.




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    35. Defendant, JUDITH PERSICHILLI, in her former capacity as then-Commission of Health for

       the State of New Jersey, an appointment by the Governor which commenced in July, 2019,

       retired.

    36. Defendant, SEJAL HATHI, in her official capacity as Commissioner of Health for the State of

       New Jersey, an appointment by the Governor which commenced in 2023 with the retirement of

       Judith Persichilli. Commencing in November, 2023, Dr. Hathi will serve as the Director of the

       Oregon Health Authority. Previously Dr. Hathi served as an advisor to Pete Buttigieg.

    37. Defendant, MATTHEW PLATKIN, in his official capacity as Attorney General for the State of

       New Jersey serving from February 14, 2022 to present. Previously serving at the Brookings

       Institute wherein he advised Congress on economic recovery during the 2008 financial

       collapse. In 2020, he served as special counsel to Cory Booker during the first impeachment

       of Donald J. Trump.

    38. Defendant, KATHY HOCHUL, in her official capacity as Governor of New York, (2021 –

       present) having previously served as Lieutenant Governor (2015 – 2021). Previously serving

       in a variety of elected and appointed capacities as Hamburg Town Board, (1994 – 2007) 8 th

       Clerk – Erie County, (2007 – 2011) United States House of Representatives for the 26 th

       District of New York, (2011 – 2013) and presently in her current role.

    39. Defendant, ANDREW CUOMO, in his previous capacity as Governor of New York, an elected

       position held, (2011 – 2021) succeeded by Kathy Hochul. Previously serving in the capacity

       of New York Attorney General, (2007 – 2010) the United States Secretary of HUD, (1997 –

       2001) and as Deputy, (1993 – 1997) – the latter appointments by Bill Clinton.

    40. Defendant, LETITIA JAMES, in her current capacity as Attorney General for the State of New

       York, an elected position held since 2019. Previously serving as the New York City Public



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       Advocate, (2014 -2019) and a member of the New York City Council – 35 th District, (2004 -

       2013).

    41. Defendant, SUSAN RICE, United States Domestic Policy Council – 22 nd Director, (2021 –

       2023) U.S. Ambassador to the United Nations, (2009 - 2013) and National Security Advisor,

       (2013 – 2017). Preceded by Brooke Rollins (acting) and Succeeded by Neera Tanden.

       Appointed by Joseph R. Biden and confirmed by the Senate.

    42. Defendant, ADAM SCHIFF, in his official capacity as United States Representative,

       California, an elected position held since 2001, formerly a member of the California State

       Senate, (1996 – 2000). Serving on the House Intelligence Committee, Ranking Member;

       (January 3, 2015 – January 3, 2019) and Chair, (January 3, 2019 – January 3, 2023).

    43. Defendant CHARLES “CHUCK” SCHUMER, in his official capacity as United States

       Senator, New York, (1999 – Present) Senate Minority Leader, (2017 – 2021) and Senate

       Majority Leader (2021 – Present).

    44. Defendant, JANET YELLEN, Secretary of Treasury, (January 26, 2021 – Present) and Chair,

       Federal Reserve, (2014-2018). Member of the Federal Reserve Board of Governors, (October

       4, 2010 – February 3, 2018). Preceded by Steven Mnuchin. Appointed by Joseph R. Biden

       and confirmed by the Senate.

    45. Defendant, ROD ROSENSTEIN, United States Deputy Attorney General, (2017 – 2019)

       formerly as United States Attorney for the District of Maryland, (April, 2017). Preceded by

       Sally Yates. Appointed by President, Donald J. Trump, confirmed by the Senate.

    46. Defendant, HUMA ABEDIN, formerly serving as vice chair of Hillary Clinton’s 2016

       campaign, assisting in 2008.




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    47. Defendant, DEBBIE WASSERMAN SCHULTZ serving in her capacity as U.S.

       Congressional Representative (FL – 25th District), former Chair of the Democratic National

       Committee.

    48. Defendant, CLARENCE W. NELSON, II, serving in his capacity as Administrator of the

       National Aeronautics and Space Administration (NASA), formerly service as United States

       Senator (FL) (2001 – 2019) and the U.S. House of Representatives (1972 – 1978).

    49. Defendant, UNITED HEALTHCARE, in its current form and organizational structure as a

       primary insurer citing the COVID-19 related deaths. Offices located at 9900 Bren Road, E.

       MN008 T-615 Minnetonka, Minnesota 55343.

    50. Defendant, OCCIDENTAL PETROLEUM, in its current form and organizational structure

       with a business address 5 Greenway Plaza, Suite 110, Houston, Texas 77046-0521.

    51. Defendant, the DEMOCRATIC NATIONAL COMMITTEE, in its current form and

       organizational structure held by Charter and bylaws, in the supervisory role of national

       convention with presidential candidates, fund raising, commissions polls, and coordination of

       campaign strategies for the Democratic Party and its member body.

    52. Defendant, REPUBLICAN NATIONAL COMMITTEE, in its current form and organizational

       structure held by Charter and bylaws, in the supervisory role of national convention with

       presidential candidates, fund raising, commissions polls, and coordination of campaign

       strategies for the Republican Party and its member body.

    53. Defendant, JAMES PITTINGER, in his capacity as Mayor, Lebanon Borough, Hunterdon

       County.

    54. Defendant, LISA SELLA, in her capacity as Deputy Clerk, Lebanon Borough, Hunterdon

       County,



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    55. Defendant, ROBERT JUNGE, in his capacity as co-Chair, Republican Party, Lebanon

       Borough, Hunterdon County.

                                     JURISDICTION AND VENUE

    56. The District Court has subject jurisdiction pursuant to 28 U.S.C. §§1331-1332, because the

       actions arose under the Constitution, laws, or treaties of these United States.

    57. This Court has jurisdiction pursuant to the Civil Rights Act of 1871, (Section 1983) the Fifth

       and Fourteenth Amendment, Constitutional protections, and the Patriot Act (Pub. L. 107-56).

    58. Declaratory and permanent injunctive relief is sought as authorized in 28 U.S.C. §§2201 and

       2202 (Title 28 – Judiciary and Judicial Procedure Part VI - PARTICULAR PROCEEDINGS

       (§§2201-4105), Ch. 151 – Declaratory Judgment (§§2201 – 2202).

    59. In accordance with Rule 38 and Federal Rules of Civil Procedure, Plaintiff seeks court consent

       in Demand for Jury, same being contained in and among this pleading.

    60. Venue is proper in this Judicial District under 28 U.S.C. §§1391(b)(2) and (e)(1). Defendants

       are United States federal agencies, State and local elected officers with suit brought in their

       official capacities, this Court having competent jurisdiction. Plaintiff is a resident of this

       Judicial District, and where a substantial part of the events occurred giving rise to this

       Complaint and are continuing to occur within the District Court of New Jersey as well these

       United States. Plaintiff does not yield to Defendant’s manifest by conveyance of consent or

       subjugation; natura appetit perfectum, Plaintiff’s allegiance tethers to those herein unnamed,

       denied death by natural cause at the knowing will of those herein named. Given to the pledged

       obligations of civility in human conduct, the magnitude of the herein claims cannot be

       understated; Plaintiff as well those unnamed have suffered severe injury to their most base

       Rights enumerated in the Constitution, same continuing to the present time and will continue



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       unabated absent the deafening silence being broken. Citing the present national security

       related events, this plea is of significant federal interest having ripened to the point of being

       putrid.

                                               COUNT ONE

                                  EPIDEMIC OF DISINFORMATION

    61. The disinformation campaign regarding the Russian dossier, advanced like hellfire with the aid

       of a weaponized media partnership, the Legislative body and a vast assemblage of 501c3

       entities who by tax exempt declaration affirm to be partisan; their efforts, contrived of lies and

       fabrications in every way, were by definition, the very essence of disinformation, meant to

       cause harm to the office of the Presidency at the outset, and Donald J. Trump, his family as

       well those in his Administration. Plaintiff states, unequivocally, that the statements of Russian

       collusion following the 2016 Presidential election were calculated in every way.

    62. In March, 2022, the Democratic National Committee (“DNC”) was found culpable for their

       participation in the Russian collusion disinformation campaign associated with the 2016

       Presidential election, the DNC paid a fine of $105,000 attached as EXHIBIT 2, the DNC

       admitted their guilt.

    63. The actions of the DNC’s no less repulsive than those iterated by Defendants, WILLIAM J.

       CLINTON, HILLARY R. CLINTON, ROBERT MUELLER, JAMES COMEY,

       CHRISTOPHER J. CHRISTIE, RICHARD “DICK” CHENEY, JOHN KERRY, GEORGE W.

       BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, ERIC HOLDER, JOSEPH R.

       BIDEN, NANCY PELOSI, PHILIP MURPHY, MATTHEW PLATKIN, KATHY HOCHUL,

       ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES

       “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD ROSENSTEIN,



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       HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ; giving no consideration to the

       consequence of their actions in matters of foreign policy, homeland security, social and civil

       discourse, they were focused solely on the undercurrent of fabricated schema. Plaintiff asserts

       as will be disclosed herein, the duplicity of their actions becomes irrefutable as the historic

       threshold tests withstood by our Nation are applied to their actions, no one is above the law

       and justice must be served.

    64. The most odious of the Defendants, ADAM SCHIFF, NANCY PELOSI, CHARLES

       “CHUCK” SCHUMER and HILLARY R. CLINTON, this complaint seeks a voice of Justice

       in the Rule of Law, these United States, Donald J. Trump, his family and extraneous parties

       have paid dearly for their incantations and fabrications, all the while full well knowing they

       were untrue while the invisible hand of their orchestration lay siege into the fabric of our

       nation is abhorrent, unquestionably treasonous.

    65. Plaintiff presents three interlocking case studies, supported by sourced findings that serve to

       connect three seemingly disconnected events to one larger criminal enterprise, perfected over

       time through the benefit of intrinsic permeation within governmental bodies, in the United

       States and more broadly.

    66. Due to the knowing covert actions of the parties involved, Plaintiff attaches EXHIBIT 3, 1986

       structured mapping of the BCC International, inclusive of all operations within sovereign

       nation-states, including these United States. The mapping clearly discloses the magnitude of

       corruptive imposition by “expatriates” designees of BCCI, who in 1986 totaled 3,050,000 in

       the United States, second only to India at 3,200,000 and Egypt at 2,500,000. Plaintiff

       emphasizes the foregoing with the correlated figures of multinational corporations (“MNC”);

       “in 1969 there were 7,000 MNC, in 2008, there were 79,000 multinational parent corporations



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          with 790,000 foreign affiliates worldwide,” 6 layering non-government organizations,

          (“NGOs”) inclusive of religious and nondenominational entities, the inclusive organizations

          and entities have advanced in volume. The magnitude of vastness represents “an increase in

          private, nonstate power across the globe.” 7

     67. Plaintiff analyzed policies of the United States and those of the dictum of structured

          control sought by BCCI, citing three primary areas outlined below. Applying the laws of

          science and criminal theory, Plaintiff utilized the three-sigma rule of thumb expressing a

          conventional heuristic that nearly all values are taken to lie within three standard

          deviations of the mean, providing the findings are empirically useful, to treat as 99.7%

          probable, as near certainty to other historic crises. The following causes of action

          emerged with the Plaintiff asserting that the embers of BCCI were never extinguished,

          quite to the contrary, that was never the intent.

              a. Fictitious businesses – an untold number, although Plaintiff retains an appreciative

                   repository, including 501c3 organizations, the volume of those which exist are not yet

                   known but would be sought in discovery.

              b. Banking entities –criminal acts being perpetrated in the movement and laundering of

                   funds, worldwide, resulting in domestic and international banking as well as monetary

                   institutional corruption. The list provided below is in no manner a complete directory.

                        i. First American Bank.

                       ii. UBS.

                      iii. HSBC.



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   Cusimano Love, Maryann. (2007) Beyond Sovereignty – Issues for a Global Agenda. Boston, MA. Wadsworth Cengage
 Learning. (Research Report: United Nations Conference on Trade and Development (UNCTAD)), World Investment Report
 (2008), https://www.unctad.org/en/docs/wir2008overview_en.pdf>, 10.
 7
   Ibid. p.98.

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                  iv. Bank of America.

                   v. Deutsche Bank.

                  vi. Barclays.

                 vii. Credit Suisse.

                 viii. World Bank.

                  ix. The Federal Reserve.

                   x. Medium of monetary movement:

                  xi. Drug trafficking.

                 xii. Weaponry, including nuclear trafficking.

                 xiii. Human trafficking and sex trafficking.

                 xiv. Organized crime and gang structures.

                 xv. Real estate purchase/sale, land development and preservation, including

                      construction.

                 xvi. Solar and alternative energy development, including mining (in all forms and

                      mediums).

    68. The three case studies, outlined below as (I – RUSSIAN COLLUSION; II –

       PREVEZON; III – FINDINGS/CLAIMS). The case studies conclude with a

       contrast/comparison against the historic record. The records of the case studies are in

       various form of investigative completeness by federal entities, all records analyzed were

       open source accessed.

    69. Plaintiff states that the inclusive body of Defendants sought to compromise the dually

       elected Chief Executive as well every facet of his Administration under the auspices of

       manufactured lies and innuendo having no merit or basis in truth under the schema of



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       “Russian collusion.” Having absolutely no regard for the unintended consequences,

       foreign implications or the well-being of the People of these United States. Ultimately, as

       facts were permitted sunlight, the DNC was proven to be one of the primary actors in the

       schema, co-conspirators included codefendant, Hillary R. Clinton, and Perkins Coie for

       Fusion GPS, among other parties, see attached EXHIBIT 4. The “Russian election

       interference” schema served a two-fold purpose; 1)impose on future elections to change

       the structure of voting, under guise of COVID-19, allowing for broad manipulation or its

       implication to enable predictive modeling of election outcomes, and 2)retain secrecy of

       the undercurrent activities being conducted covertly each Defendant playing a particular

       part to reinforce the manufactured narrative. Plaintiff asserts that both goals were

       achieved by weaponizing the 2020 election at great cost to these United States and the

       People.

    70. RUSSIAN COLLUSION: Plaintiff refers to EXHIBIT 5, House Resolution 1011, dated

       March 29, 2022, “Public Statement on the Hunter Biden Emails.” EXHIBIT 6, Interim

       Joint Staff Report, dated May 10, 2023 (Committee of the Judiciary, Select Subcommittee

       on the Weaponization of the Federal Government, and Permanent Select Committee on

       Intelligence), “The Hunter Biden Statement: How Senior Intelligence Community

       Officials and the Biden Campaign Worked to Mislead American Voters.” (May, 2023).

          a. House Resolution 1011 (March 29, 2022).

                   i. Plaintiff analyzed those matters of and associated with the October 19,

                      2020 letter penned by members of the intelligence community and subject




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                             of a New York Post article stating, “51 intelligence agents interfered with

                             an election.”8

                        ii. The parties affiliated with the authored letter of October 19, 2020, are

                             inclusive members of the intelligence community, each holding security

                             clearance in accordance with statute at the time of the letter being

                             authored.

                       iii. The authored letter includes the signatory, Jeremy Nash, the managing

                             director of Beacon Global Strategies. Jeremy Nash served as the Chief of

                             Staff under then-President Barack Hussein Obama in two national security

                             departments or agencies: Director of the CIA (2009-2011) and Chief of

                             Staff to the Secretary of Defense (2011-2013). Plaintiff analyzed

                             extraneous tax-exempt entities affiliated with Nash which disclosed the

                             Spy Museum where Nash serves on the Board with Grant Verstandig.

                       iv. Grant Verstandig serves as a senior advisor to the National Security

                             Agency on advanced analytics, technology, and AI. Verstandig is

                             affiliated with Red Cell Partners, Zephyr AI, DEFCON AI, and Andesite,

                             founder, and Chairman of Rally Health, and previously with Optum a

                             group within UnitedHealth. Verstandig is co-founder of TARA Mind,

                             serving with Marcus Capone, a former member of Seal Team 6.

                             Verstandig is also the co-founder of the venture backed CRISPR gene

                             editing company, Tavros, as well as SpyCraft Entertainment via Netflix.



 8
   Devine, Miranda. Its Been Two Years Since 51 Intelligence Agents Interfered With An Election – They Still Won’t
 Apologize.” October 19, 2022. Accessed March 1, 2023 https://nypost.com/2022/10/19/its-been-two-years-since-51-
 intelligence

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                            Plaintiff notes indirect affiliation to Defendant, SUSAN RICE through the

                            Netflix, the Defendant serving on its Board.

                        v. Verstandig pursues a variety of philanthropic interests including those

                            associated with the National Cancer Institute, one common associate is

                            Gabrielle’s Angel Foundation. Denise Rich serves as the Board President

                            and co-founder of Gabrielle’s Angel Foundation. Denise Rich, the widow

                            of Marc Rich who shares direct association with co-defendants, the DNC,

                            WILLIAM J. CLINTON and HILLARY R. CLINTON and is central to

                            this complaint.9 According to Vanity Fair, (June, 2001) the emoluments

                            are categorized. The article also affirms Plaintiff’s statements herein,

                            “From Nigeria to Russia, everyone was on the payroll for Marc Rich.

                            Dollar for dollar in his time, no one, including sheikhs, had more money

                            than Marc Rich…you have no idea the strength this man had in the world

                            economy…he virtually hijacked (the) Jamaica economy...involved himself

                            in Venezuela, Angola, Romania, Yugoslavia, Bulgaria, and North

                            Korea…manipulating their ministers and politicians better than they

                            were…Rich’s name popped up to investigator of the notorious B.C.C.I.

                            banking scandal…listed in the appendix…in the murky shadows of a $2.7

                            billion lawsuit between two Russian aluminum magnates filed in …New

                            York…the aluminum trading is filled with incredible acts of treachery,

                            including murder, extortion, money-laundering, bribery, and




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  Orth, Maureen. The Face of Scandal. (Vanity Fair).August 14, 2008. Accessed March 1, 2024
 https://www/vanityfair.com/news/2001/06/rich/200106

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                          corruption…Rich is a play in this whole milieu.”10 Plaintiff attaches

                          EXHIBIT 7, Vanity Fair article (June, 2001).

              b. Committee of the Judiciary, Select Subcommittee on the Weaponization of the

                 Federal Government, and Permanent Select Committee on Intelligence (May 10,

                 2023).

                     i. Plaintiff states that the report clearly evidences the Defendants continuity

                          of involvement in the abhorrent actions to circumvent the People’s

                          decision-making apparatus concerning the 2020 election, going so far as to

                          weaponize law enforcement at all levels of government to their ends, as

                          facts herein disclose, irrevocably shattering public trust and increasing the

                          likelihood of voter disenfranchisement; all the while concealing the truth

                          of their as yet undisclosed actions. What makes their actions treasonous is

                          their simultaneous projection, the movements by the DOJ, NSA, CIA, etc.

                          professing that the election changes were crafted to ensure that voters

                          were not disenfranchised, as facts herein disclose, their efforts were

                          knowingly calculated to realize the opposite in outcome.

                    ii. Referring to letter of October 20, 2020 from Ms. Tyson to the Chairman of

                          Homeland Security and Government Affairs, attached as EXHIBIT 8, ¶2,

                          p.29. “…The FBI is the primary investigative agency responsible for the

                          integrity and security of the 2020 election, and as such, we are focused on

                          an array of threats, including the threat of malign foreign influence

                          operations…the FBI can neither confirm nor deny the existence of any



 10
      Ibid.

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                   ongoing investigation or persons or entities under investigation, including

                   to Members of Congress.”

               iii. Plaintiff analyzed those matters of and related to Matt Taibbi’s report,

                   entitled “Russiagate and the Most Pernicious Campaign on Censorship

                   Since the 1950’s”.

               iv. Plaintiff then analyzed Hamilton 68; 2.0, the latter launching on

                   September 4, 2019 as well as all associated matters concerning the Taibbi

                   reporting. Hamilton 68 and 2.0 were introduced following reports by the

                   CIA, FBI, NSA and the Director of National Intelligence (2016) with

                   Michael Morell serving as advisory council. Also serving is Clint Watts,

                   subject of the Secretary of State’s Convention cited herein under COUNT

                   SIX - COVID-19 herein, the parallel unequivocally not by accident. The

                   following affiliations were omitted from previous reporting and central to

                   Plaintiff’s claims herein.

               v. The Hamilton dashboard had, in fact, reverse engineered the accounts

                   which were tracked within the organization’s platform, the tracking

                   provided for 644 accounts, 36 of which were Russian based. The

                   overwhelming majority of the accounts belonging to private citizens from

                   the United States, Canada, the U.K. and others. The Russian accounts

                   belonged to Russia Today (“RT”), the Ministry of Foreign Affairs, the

                   Russian Embassy Accounts, and Sputnik accounts.

               vi. Plaintiff attached as EXHIBIT 9, letter of October 19, 2020 addressed to

                   Mark Zuckerberg, Chairman of Facebook; Jack Dorsey, CEO of Twitter;



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                   and Susan Wojcicki of YouTube from Xavier Becerra, as Attorney

                   General, California. The letter expressly eviscerates the Attorney

                   General’s protections under the Tenth Amendment by directing actions

                   throughout the United States. The letter corroborates the claims setforth in

                   Plaintiff’s exhibit concerning the Center for Tech and Civic Life, as

                   enumerated in the original Complaint, See ECF 1.

              vii. Alliance for Securing Democracy (“ASD”) is also associated with the U.S.

                   Climate Alliance which retains records on every registered electric vehicle

                   purchased; sharing private citizen records of the motor vehicle registrant

                   information with a subsidiary entity, Atlas Public Policy, an NGO. The

                   states which have motor-voter are participants of the foregoing record

                   sharing, absent disclosure or consent.

              viii. Plaintiff analyzed the German Marshall Fund (501c3). The tax-exempt

                   organization shows 2022 fiscal records of affiliate assets among sibling-

                   entities named: 1700 18th Street, LLC (Washington, D.C.), a business

                   registered to the German Marshall Fund, receiving $16,625,086 defined

                   as real estate. The Transatlantic Foundation (Brussels), a business

                   registered to the German Marshall Fund, receiving $2,294,278 defined to

                   promote greater cooperation and understanding between the U.S./Europe.

                   In and among the grants, Schedule F of the Form 990 is “Central America

                   and the Caribbean – Antigua, Barbuda, Aruba and Bahamas: $24,102,061

                   designated “investments” this grant title is consistent among 501c3

                   organizations which Plaintiff analyzed and is subject of Count 3.



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                ix. Following the BCCI model of strongarm corruptive practices, The German

                    Marshall Fund as well its associate entities are proving themselves

                    disingenuous by attestation to tax exemption; Russian collusion was a

                    psychological operation articulated in the speech of Clint Watts, former

                    employee of the FBI, the perpetuation of the associated false claims as

                    well those actions to penetrate private records of the People of these

                    United States are an egregious attack on the First Amendment and Fourth

                    Amendment, such actions should cease and desist, immediately.

          c. In January, 2016, Defendant LORETTA LYNCH directed the actions of the U.S.

             Attorney’s office in Manhattan to issue special immigration parole permission,

             allowing Ms. Veselnitskaya entry into the United States.

          d. On June 13, 2017, the Senate Intelligence Committee hosted then-Attorney

             General Jeff Sessions to testify, the transcript attached as EXHIBIT 10. Plaintiff

             calls to ¶3.p13,

                            …28 CFR 45.2. Unless authorized, no employee shall participate
                            in a criminal investigation or prosecution if he had a personal or
                            political relationship with any person involved in a conduct of an
                            investigation that goes on to say for political campaign…if you
                            have a close identification with an elected official or candidate
                            arising from service as a principal adviser, you should not
                            participate in an investigation of that campaign. Many have
                            suggested that my recusal is because I felt I was a subject of the
                            investigation myself, I may have done something wrong. This is
                            the reason I recused myself: I felt I was required to under the rules
                            of the Department of Justice and as a leader of the Department of
                            Justice, I should comply with the rules obviously…¶3.p26…And
                            when I said that to the president, deputy Rosenstein’s letter dealt
                            with a number of things. When Mr. Comey declined the Clinton
                            prosecution, that was a really a usurpation of the authority of the
                            federal prosecutors in the Department of Justice. It was a stunning
                            development. The FBI is the investigative team. They don’t
                            decide the prosecution policies. That was a thunderous thing.


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           e. Following the BCCI model of strongarm Plaintiff states that the lens of truth

               shifts posture as the facts are brought to light. Through that lens, it becomes clear

               that the Defendants, inclusive of those parties above referenced have irrevocably

               broken their oath of public trust and Charter with the American People established

               in bylaws, tax exemption and allegiance, regardless of their intent at the outset of

               their journey to this point. Justice demands to be heard and exacted under the

               Rule of Law as much in the interest of these United States as to the world given to

               the expanse of their egregious activities.

    72. PREVEZON:

    73. Plaintiff analyzed the matter associated with the United States v. Prevezon Holdings, Ltd.,

       et al., 13 Civ. 6326 (2015) indictment as well the Magnitsky Act (2012) and the periphery

       associated parties, as below.

           a. Plaintiff provides below the undercurrent facts in evidence concerning the

               Russian collusion claims, unequivocally implicating the DNC in a broader

               scheme of fraud, corruption, and treason. January 8, 2019, nearly three years

               from the special permission of entry granted by Defendant, LORETTA LYNCH,

               U.S. prosecutors indicted Natalie Veselnitsyaka, a Russian attorney who

               represented Prevezon, on claims involving forfeiture and civil money laundering

               penalties.

                 viii. Denis Katsyv (Ukrainian) – son of Pyotr Dmitriyevich Katsyv, former

                       Minister of Transport, Moscow, Russia (2000-2012); head of main

                       department for Moscow, Russia (2012-2013), and VP, Russian Railways

                       (2014-2019).


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               ix. Katsyv is associated with Alexander Litvak, together they own Martash

                   Investment Ltd., a British Virgin Island company with bank holdings

                   serviced by UBS (Switzerland), and Bank Hapoalim (Israel). In 2005,

                   Katsyv laundered millions of dollars through four organizations (Follet,

                   Hanway and Bastet, and the Israeli Bank Hapoalim). Israel opened an

                   investigation on Martash for money laundering, the case resolved through

                   settlement of $35m.

               x. Katsyv owns Prevezon Holdings Ltd., Cyprus. (2008) Prevezon Holdings

                   received funds via UBS from two Moldovan companies Municon Impex

                   and Elenast, through Alpha Bank to a hosted account at Krainiy Sever

                   (Russian bank) - $52m. A transfer of $850,000.00 was confirmed to

                   Prevezon Holdings. Thereafter, 4-Properties were purchased in NYC

                   under the name Prevezon Cyprus which had shared interests with

                   Prevezon Berlin GmbH (Germany).

               xi. In 2008, Prevezon and its business partner, Africa Israel Investments

                   (“AFI”), owned by Lev Leviev (Israeli diamond dealer), conducted several

                   joint ventures in the United States and Europe through Deutsche Bank.

              xii. SARC is affiliated with a Russian citizen named Sergei Tikhomirov who

                   holds a bank account in Lithuania, bank account reflects the fund transfer

                   from Reaton, Ltd.

              xiii. In 2013, William Browder claimed that Prevezon had stolen $1.9m

                   through his company, Hermitage Capital Management, the funds used to

                   purchase the NYC properties, as above. Preet Bharama, former US.



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                             Attorney, Southern District of New York, seized the 4-properties, 2-

                             commercial properties and froze the assets of 11-firms, including

                             Prevezon Ltd.

                      xiv. William “Bill” Browder, owner of Hermitage Capital Management, a

                             Chicago Illinois native, educated at Stanford Business School who worked

                             for Salomon Brothers as a proprietary trader of Russian securities. 11

                             Browder’s grandfather, Earl Browder was a leader in the U.S. Communist

                             Party from 1932 – 1945, securing a position at Brandeis University by

                             Eleanor Roosevelt, he would later chair the mathematics department at the

                             University of Chicago. Felix Browder, Bill Browder’s father, was

                             instrumental in establishing a science and technology center in

                             conjunction with Princeton University and Bell Labs. In 1999, he became

                             the president of the American Mathematical Society, recognized in the

                             field of nonlinear functional analysis; in that same year he was awarded

                             the National Medal of Science by then-President Bill Clinton.

                       xv. Bill Browder’s career began at Boston Consulting group in London,

                             thereafter, worked for Robert Maxwell’s Maxwell Communication

                             Corporation, later joining Salomon Brothers managing Russian proprietary

                             investments. Browder has an extensive history in lobbying with a specific

                             leaning towards his fiscal interests. Serving as CEO and co-founder of

                             Hermitage Capital Management (1996), the investment advisor to the



 11
   Crowney, Paul. William Browder had cause to feel smug. His Hermitage Fund had racked up a 228 percent return, making it
 the best performing fund of any type anywhere in the world in 1997. Accessed December 10, 2022,
 https://www.institutionalinvestor.com/article/2btgidyngwpw34c2tyqkg/corner-office/seeing-red

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                   Hermitage Fund, a foreign registered portfolio investor based in the

                   Channel Islands (Guernsey) with offices in the Cayman Islands, London,

                   and Moscow, the funding for Hermitage was provided by his co-founder,

                   Edmond Safra with $25m seed money from Republic National Bank.

                   Between 1995 and 2006, the Hermitage Capital Management organization

                   became one of the largest foreign investors in Russia. In 2013, HSBC,

                   serving as trustee and manager for Hermitage Capital Management,

                   announced it would end the fund’s operations in Russia. The

                   announcement came while Browder was fighting to legal actions; 1)a libel

                   court case in London, and 2)tax evasion case in Moscow being handled in

                   absentia, the latter settling in 2018, paying a fine of £17m to Russian

                   authorities. Under the Hermitage Fund, Browder is a prolific shareholder

                   rights activist who directed his actions towards Gazprom, Surgutneftegaz,

                   Unified Energy Systems, and Sidanco. In November, 2005, he was

                   refused entry to Russia citing him a national security threat and deported

                   to the U.K, in June, 2007, the Hermitage Capital and Firestone Duncan

                   (Browder’s law firm), were raided by the Russian Interior Ministry.

              xvi. Browder’s former partner, Edmond Safra, a Lebanese-Brazilian banker of

                   Syrian descent, founded Republic National Bank of New York (1966),

                   thereafter, in Geneva, Switzerland, Republic National Bank of New York

                   (Suisse). In 1983, Safra negotiated the sale of Trade Development Bank to

                   American Express, some controversy followed resulting in an award to

                   Safra of $8m which was donated to charities. In 1988, he founded Safra



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                      Republic Holdings S.A., a Luxembourg holding company. In 1998, the

                      FBI and Swiss justice officials altered Safra of a money laundering

                      scheme involving International Monetary Fund, (“IMF”) Republican

                      National Bank of New York, Republican National Bank of New York

                      (Suisse) as well other unidentified outlets, Russian officials of both the

                      Russian Ministry of Finance and the Russian Central Bank. The IMF

                      funds are reported to have cause the Russian financial crisis of 1998. In

                      1999, under care for Parkinson’s, Safra sold Safra Republic Holdings and

                      Republic New York Corporation to HSBC for $10.3 billion in cash. In

                      December, 1999, HSBC renamed the purchased companies as HSBC

                      Private Bank. In that same month, Safra was killed in a fire at his Monaco

                      home, his nurse was later arrested for the arson that caused his death.

                xvii. Denis Katsyv, represented by attorney Veselnikskaya, met with Fusion

                      GPS founder Glenn R. Simpson and Louis Freeh, who subsequently

                      opened an investigation into Browder and Donald Trump, Jr. at the

                      bequest of Katsyv.

   74. FINDINGS/CLAIMS: Following a strict contrast/comparison model weighing the BCCI

       history against the emergent facts correlating the subject parties, Plaintiff states the

       following, inclusive of claims of harm:

          a. Lending/Banking Institutions:

                   i. HSBC was a primary banking institution used by BCCI, Occidental

                      Petroleum and Marc Rich. RNB was founded by the partner and co-

                      founder of Hermitage Capital Management. Bill Browder, the owner of



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                  Hermitage worked for Salomon Brothers as well as Robert Maxwell.

                  Salomon Brothers would be sold to Phillip Brothers when Marc Rich was

                  an employee, it would thereafter become Phibro. Defendants WILLIAM

                  J. CLINTON and HILLARY R. CLINTON tie to the inclusive parties

                  directly, with many of the co-Defendants sharing common association.

               ii. Prevezon Holdings Ltd. is a boutique international real estate investment

                  firm, following the exact model of BCCI, Plaintiff asserts that the DNC

                  knowingly participated in the perpetuation of the BCCI scheme model

                  following its demise in 1992. The foregoing facts are further substantiated

                  by those actions of the DNC and codefendants, as below:

                      1. The DNC knowingly sought to impose on this matter by seeking

                          application of pro hac vice counsel who were directly involved in

                          the MeToo movement in New York City at the time of Harvey

                          Weinstein’s arrest. Harvey Weinstein shared association with the

                          DNC by donor capacity and attended events held at his

                          Connecticut property. Moreover, the applicant pro hac vice

                          counsel served as counsel to E. Jean Carroll in a matter that the

                          Plaintiff asserts was manufactured using the BCCI strongarm

                          model, facilitated by Judge Kaplan, who Plaintiff asserts is also

                          unequivocally tied and beholden.

                      2. Defendants, the DNC, WILLIAM J. CLINTON, HILLARY R.

                          CLINTON, MERRICK GARLAND, WILLIAM J. BURNS,

                          CHRISTOPHER A. WRAY, DENNIS RICHARD



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                         MCDONOUGH, ALEJANDRO MAYORKAS, ROBERT

                         CALIFF, ROBERT MUELLER, JAMES COMEY,

                         CHRISTOPHER J. CHRISTIE, RICHARD “DICK” CHENEY,

                         ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W.

                         BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH,

                         JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN, JOHN

                         ASHCROFT, JAMIE GORLICK, NANCY PELOSI, GEORGE

                         NORCROSS, PHILIP MURPHY, MATTHEW PLATKIN,

                         KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES,

                         SUSAN RICE, ADAM SCHIFF, CHARLES “CHUCK”

                         SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD

                         ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN

                         SCHULTZ, BILL NELSON and the RNC had full knowledge that

                         both Deutsche Bank and Barclays Bank had direct involvement

                         with Jeffrey Epstein as well the business entities belonging to Marc

                         Rich. The subject lending institutions shared direct correlation

                         with money laundering activities of Hermitage as well as BCCI,

                         these facts are unequivocal. The Defendants have shattered public

                         trust. Plaintiff as a short sale negotiator works directly with the

                         subject lenders on behalf of her clients.

               iii. Plaintiff asserts that Defendant, LORETTA LYNCH colluded with Paul

                   Manafort and Defendants, ROBERT MUELLER and JAMES COMEY to

                   fortify predetermined schema outcomes, either the parties themselves



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                   colluded with Russian foreign parties, projecting the Russian collusion

                   psyop as a diversion or the BCCI model is permeated in and among the

                   branch of United States government, one or both are true. The facts attached

                   to the foregoing statement are indisputable. The parties were so vehement

                   of their schema that they knowingly and irrefutably colluded in and among

                   themselves seeking to set up Donald Trump Jr., with the desired outcome of

                   tarnishing his integrity based purely on his proximate relationship to his

                   father, the President of the United States, and those parties associated with

                   Trump Administration, the despicable tactics echo those of BCCI, lock-step.

                   The foregoing set in motion a sequence of events by knowing covert hands

                   imposing on Article II, Executive Branch authority as well those Rights

                   enumerated to the People, inclusive of the Plaintiff; these actions are

                   inexcusable and treasonous in all respects.

               iv. Plaintiff cites the BCCI mapping and tactics when analyzing the combined

                   facts herein with the events surrounding George Papadopoulos’ case subject

                   of July 27, 2017, and his arrest by the FBI. Referring to the letter of August,

                   2017, the directive from Defendants, ROD ROSENSTEIN to ROBERT

                   MUELLER. The concealed nature of the actions taken by the Defendants

                   while projecting facts that were knowingly contrived; were detrimental in

                   foreign policy statecraft to which Mr. Papadopoulos was employed.

                   Moreover, the Defendants actions permitted venue for extraneous parties to

                   impose on said policy statecraft, including those parties with whom the

                   Defendants have concealed tethering of unknown conduct and expectation,



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                   all of which further expose vulnerabilities to these United States, treasonous

                   in every manner. Given that the whole of the Russian collusion incident

                   was a fabrication, from end-to-end, and the taxpayers paid for the time

                   expended, Plaintiff hereby requests that all records held be released, all and

                   inclusive records, unredacted.

               v. Plaintiff analyzed the tracking of data on the Hamilton platform, gross

                   violation of the First Amendment, Right to Free Speech and Fourth

                   Amendment are evident. The data is gathered without benefit of disclosure

                   or warrant and subjected to dissemination, absent knowledge, or consent.

                   The associated organizations should have their tax exemption status

                   revoked, permanently, acting by way of the stated evidence, as an uncharted

                   quasi-arm of government, absent Congressional authority.

               vi. The affiliation of the parties associated with the Hamilton 2.0 platform is

                   suggestive of a closed circle, forming intelligence control and is in keeping

                   with the BCCI model of mapping. The fact that those in federal law

                   enforcement (e.g. FBI, NSA, etc.) are involved in Hamilton 2.0 which

                   knowingly breaches the Patriot Act, shatters public trust and integrity so

                   afforded law enforcement. The Plaintiff’s family is retired CIA, her respect

                   and admiration long held her Uncle, John Agetone as much for those of his

                   peers.   The parties’ actions have irreconcilably imposed on Plaintiff’s

                   familial relationships, the most sacred of all impositions.

              vii. The association in and among the extraneous parties has an unequivocally

                   suggestive statistical probability.    Following the strict apprenticeship



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                   modeling of BCCI, the direct connection of parties in and among the co-

                   Defendants, acting as a hub, presents a structured organization, complete

                   with the BCCI mapping of businesses, non-profits or NGO’s, banking

                   interface, and governmental parties inclusive of those elected and

                   appointed. Moreover, the findings irrefutably corroborate Plaintiff’s initial

                   pleadings and content thereto.

              viii. Based on the statement of Attorney General Jeff Sessions, citing 28 CFR

                   45.2, the DNC and the inclusive codefendants are guilty of violating the

                   statute and, specifically Defendants JAMES COMEY, ROBERT

                   MUELLER, the DOJ, etc. Each of the inclusive parties having discussed

                   or imposed on the investigative integrity in either the 2016 and/or 2020

                   Presidential elections without regard to the statute have violated the law.

               ix. In 2022, the Prevezon associate, Sergei Tikhomirov, was tied to a financial

                   crimes’ investigation in Cyprus involving 23-companies associated with a

                   mining organization that moved $1.9 billion between 2007 – 2015,

                   involving Swedbank, “some associated with U.S. Treasury financial crimes

                   bureau,”, as attached EXHIBIT 10. The degree of association between

                   Tikhomirov, Prevezon (already settled matter) reinforces Plaintiff’s claims

                   that the schema is active and being perpetuated in domestic and

                   international affairs.

               x. The communications drafted by the intelligence community, Ms. Tyson, and

                   Xavier Becerra’s were all authored on the same day, statistically significant

                   and suggestive of a coordinated effort.



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                 xi. The inclusive findings irrefutably identify connectivity between central

                      figures, acting in tandem while appearing as separate from the central hub

                      of the DNC, these include Preetinder “Preet” Bharara, former U.S. Attorney

                      for the Southern District of New York, the CIA, the FBI, the NSA, factions

                      within the Military Industrial Complex as well those serving the people in

                      elected capacity, at every level, and the administrative apparatus so attached

                      as staff.

                                         COUNT TWO

                                           BANKING

    75. Following the BCCI mapping model, due to the complex areas of fiscal holdings and venue of

       movements, Plaintiff’s analysis focused on those entities central the BCCI at the time of the

       Senate Subcommittee investigative report. Among those listed below drawn from the BCCI

       Investigative Reports, there are significant areas of overlap between BCCI/Epstein/Rich, the

       overlap provided sample for resulting contrast/comparison. Plaintiff seeks to be quite clear,

       the undercurrent structure that the collective Defendants have set into motion is determined to

       cause the substructures and foundations of these United States to fail; recent examples of the

       pump and dump abound including FTX, very much a part of their schema to which they

       financially benefited while the taxpayers held their coats and covered the tab.

           a. First American Bancshares. Common parties: BCCI, claims that bank was divested of

              funds; however, First American Bank is operational in Alabama, Illinois, Indiana,

              Louisiana, Oklahoma, Texas as Citibank Texas N.A., subsumed by PNC Financial

              Services (2012). PNC bought out RIGGS Bank following knowing tactics born of

              BCCI. Plaintiff asserts that fiscal accounting and forensic audit is necessary. First



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             American National Bank , Georgia, Kentucky, Louisiana, Mississippi, Tennessee. The

             latter banks became defunct and were subsumed by Regions Financial through merger

             with AmSouth Bancorporation.

          b. UBS. Common parties: BCCI. Plaintiff contends that UBS is compromised,

             exacerbated with the acquisition of Credit Suisse in 2023; both irrefutably associated

             with undercurrent activities, both being fined for money laundering and human

             trafficking with neither learning from the experience.

          c. HSBC. Common parties: BCCI. Plaintiff contends that HSBC is incurable of its

             depraved practices, acquiring Grupo Financiero Bital de CV, subject of claims as

             above. Plaintiff contents that HSBC is a principal banking entity to the actions herein

             described.

          d. Bank of America. Common parties: BCCI. The BCCI tactics of strongarming

             apparent when in 2009, BofA was considering a merger with Merrill Lynch, the

             Richmond Federal Reserve President, Jeffrey Lacker, threatened that if the acquisition

             did not go through, and later Bank of America were forced to request federal

             assistance, the management of Bank of America would be “gone.” Similar

             communications were received by bank executive, Kenneth Lewis and presented to

             Congressional representatives, government regulators issued a letter stating that the

             government had ordered him to complete the acquisition, the acquisition made BofA

             the number one underwriter of global high-yield debt, the third largest underwriter of

             global equity and the ninth largest adviser of global mergers and acquisitions. A class

             action suit resulted in 2012 with a settlement to BofA for $2.43 billion, at taxpayer

             expense.



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          e. Deutsche Bank. Common parties: Epstein. Plaintiff separated Deutsche Bank which

             has been subject of hundreds of millions of dollars in fines and penalties since 2000 for

             money laundering, sex trafficking, etc. Deutsche was a bank used by Marc Rich,

             Occidental Petroleum and Jeffrey Epstein. It has been designated a global

             systematically important bank by the Financial Stability Board (2011) and a Significant

             Institution by the European Banking Supervisor (2014), supervised by the European

             Central Bank based on its designation. The strongarm and strawman methods of BCCI

             are evident throughout current events, once understood, they become blatant removing

             the mask from which the Defendants hide the undercurrent of their malicious actions.

                 i. In 2005, Donald J. Trump, a private citizen and entrepreneur at the time, sought

                    out construction financing for a Chicago project, Trump International Hotel and

                    Tower, known as a mezzanine loan in the industry, requiring limited collateral,

                    generally with aggressive interest rates attached to ensure a high yield of return;

                    the mezzanine loan would accompany the primary loan serviced by Deutsche

                    Bank. The mezzanine loan was proffered by George Soros, Fortress and

                    Blackacre. Upon completion of the project, customary in the industry, the

                    mezzanine loan was renegotiated and paid off with occupancy of the property

                    commencing. In 2003, a lawsuit was filed citing, among other things bid

                    rigging. The Plaintiff in the case had sought similar actions against the

                    Defendants, absent Donald J. Trump (“Trump”), inferring a history that he did

                    not have, nor his counsel of record, (See Leslie Dick Worldwide, Ltd., et al. v.

                    Maclowe Props., Inc., et al., Index 200222/2006 (N.Y. Sup. Ct. 2006). The




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                  case was dismissed in December, 2006. The lawsuit found its resolve, Plaintiff

                  to this action did not observe the outcome.

                         In 2012, the debt obligations on the property were paid down with

                  occupancy on the rise, Trump sought to renegotiate the mezzanine loan with a

                  favorable outcome, not unusual for savvy parties to create a win-win in contract

                  negotiations. However, as time would provide George Soros retained the

                  details as a hip pocket insurance policy. Drawing on personal experience,

                  Plaintiff states that hip pocket insurance policies are transactable instruments as

                  political capital. The favorable negotiations between the parties, a private

                  business matter, would be resurrected by the Defendant, LETITIA JAMES and

                  Judge Engoron.

                         Defendant, LETITIA JAMES, campaigned toting the words, “I will get

                  Trump,” confident of her insider knowledge combined with the plethora of

                  research compiled by her predecessors, Defendant, ANDREW CUOMO as

                  Governor and Eric Schneiderman as Attorney General. Moreover, Defendant

                  availed herself of research usurped by Defendant NANCY PELOSI in the

                  House pursuit of Trump’s financial records. Combining the aforementioned

                  research with the hip pocket insurance policy, the Attorney General set out to

                  wage a journey of epic proportion, up to and including the selection of the

                  Judge. The outcome of the case defies all manner of legal threshold, absent a

                  victim in a civil fraud case, the intent to create legal precedent while

                  bankrupting the Republican nominee for President of these United States.

                  Simultaneously, creating untenable economic indicators for New York



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                  landholders, entrepreneurs and would-be future enterprising parties considering

                  New York as venue to enterprise in an environment presently confounded by

                  other issues. Evaluating the entirety of narrative, the only conclusion is that

                  you chose to weaponize your capacity, very much the same as your co-

                  Defendants, the DNC, HILLARY R. CLINTON, ADAM SCHIFF, NANCY

                  PELOSI, CHARLES “CHUCK” SCHUMER, LIZ CHENEY, etc., their actions

                  when layered with the facts herein disclose their own culpability, your

                  culpability.

                         Plaintiff asserts that the manufactured property valuation at the core of

                  the Defendant’s case, draws on the distinct history of the private contractual

                  negotiations between the parties above, her strawman capacity becomes

                  disclosed, buttressed by the Chicago property as much to George Soros having

                  funded her political advancement. Plaintiff states that the capitulation by proxy

                  manifest in the Defendant’s actions, not unlike similarly weaponized lawfare

                  actively being waged against Donald J. Trump are, in fact, built on the edifices

                  of the two concurrent parallels; one determined in maintaining the corrupt,

                  treacherous practices, using any and every mechanism at within one’s grasp to

                  achieve the desired outcome; the other steeped in the Constitution and

                  Founders’ principals, apart from foreign imposition or emoluments. The

                  subject parallels were well known by the Founders, none more eloquent than

                  George Washington in his Farewell Address as incorporated in this plea.

                         Plaintiff proffers EXHIBIT 11, a favorable OCWEN mortgage

                  modification of and belonging to the Defendant, executed on July 1, 2005. The



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                    modified mortgage infers favorable negotiated rates, in the industry reserved for

                    those in default and offered for home retention under the Troubled Asset Relief

                    Program, (“TARP”). The subject loan was later refinanced by Power of

                    Attorney on March 30, 2011 with Aegis Lending, retaining all OCWEN terms

                    under the modification of 2005, favorable to the Borrower. The Defendant

                    understands that New York banks do not rely on borrowers’ property value

                    claims or their financials, they conduct independent appraisals to protect their

                    interests, unless that is if someone imposes themselves on that process.

                    Plaintiff offers this information with the knowledge that the Defendant has a

                    history of lawsuits against banks for conduct that by the facts disclosed, she

                    herself, has conducted in her own interest, corrupt in every manner. Plaintiff

                    was a tenant in Bedford-Stuyvesant, Brooklyn throughout the period of 2015 –

                    2021, having every knowledge, compassion and understanding regarding the

                    expense of residency, it is unconscionable that the Defendant advantaged

                    herself through corruptive actions, up to and including committing mortgage

                    fraud, while projecting herself a champion of the People. Based on these

                    fraudulent actions, the Defendant should be removed from office and disbarred.

          f. Barclays. Common parties with Epstein, Jes Staley (CEO), Staley resigned his position

             once the affiliation had been disclosed. Since 2009, Barclay had been cited for

             numerous violations including money laundering. In 2022 (United Kingdom) and

             again in 2023 (United States, SEC), Barclays settled charges levied involving money

             laundering and securities fraud.




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              g. Bank of America (“BofA”). Common parties: BCCI as a principal banking conduit. In

                  2014, BofA was the subject of an investigation initially brought by the states with final

                  negotiations by Defendant, ERIC HOLDER, citing the residential mortgage-backed

                  securities and quality of the securitized loans, the settlement of $16.65 billion. Plaintiff

                  refers to the leveraged strongarming witnessed in 2009, conducted by the Federal

                  Reserve.12 Plaintiff states that the history involving the Troubled Asset Relief Program

                  (“TARP”) was weaponized as leverage, in many cases, to maintain the structured

                  undercurrent modeled after BCCI, the Defendants dually affixed to same.

              h. Credit Suisse. Common parties: BCCI and Epstein. In 2023, Credit Suisse was subject

                  of investigations by United States and British authorities involving Mozambique.

                  Throughout 2016 – 2020, Credit Suisse was subject of internal investigations with

                  regulators determining significant fiscal shortcomings, reporting by MorningStar,

                  March 23, 2023. Further investigations in 2022 involved drug trafficking (Bulgaria)

                  and money laundering. The investigations mirror the history and structure of BCCI.

              i. The Federal Reserve. Common parties: BCCI. Citing the foregoing facts and

                  investigative history, Plaintiff asserts that the Federal Reserve and its inclusive

                  embodiment of organizations has been knowingly compromised to capitulate to foreign

                  enterprise. Plaintiff has added Defendant, JANET YELLEN to this cause of action,

                  citing the Defendant’s involvement in matters of and relating to the foreign impositions

                  and attempted divestiture manifest in corruption and fraud.

                                                   COUNT THREE

                                                   TRAFFICKING


 12
   Reuters. U.S. Pushed Bank of America to Complete Merrill Buy:Report. February 5, 2009. Accessed March 9, 2024.
 https://web.archive.org/web/20090208113545/http://uk.reuters.com/article/americasDealsNews/idUKTRE5140OA20090205

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      76. While our Nation’s veterans were locked down for inordinate periods of time in nursing homes

          at the direction of Governors while our businesses were shut down in some cases fined for

          attempting to reopen, the Center for Disease Control and Prevention, (“CDC”) in conjunction

          with the National Institutes of Health and Food and Drug Administration were jockeying,

          hedging their bets in the Presidential election. The overarching concern among these

          organizations was not of the Veterans, among other innocent citizens, dying alone in a locked-

          down environment resulting from politicized public health dictates, rather, their principal focus

          was on monetary retention. Plaintiff attaches EXHIBIT 12, published in the Lancet, October,

          2020 edition,13 the article is second in a series of three published articles associated with the

          2020 US Presidency: excerpts as below.

               a. National Institutes of Health. (“NIH”). Although President Donald Trump has not

                   outlined any specific plans regarding the National Institutes of Health (“NIH”) should

                   he win re-election, it is not difficult to figure out what is in store for the largest public

                   funder of biomedical research in the world….Advancement of Science, which

                   represents 250 scientific academies, serving 10 million members. Some relatively

                   small Trump initiatives, such as pediatric cancer and neonatal research, do little to

                   offset the president’s overall budget reductions…The Trump administration has

                   requested US$39.1 billion for the NIH for the fiscal year ending September, 2021,

                   which is 16% less than last year’s $41.7 billion final budget and 13% lower in

                   inflation-adjusted dollars than what it received in 2003. Everything that we’ve

                   observed in the last 3 years, and however many months it’s been, suggests that Trump

                   2.0 would probably be a lot like the first Trump administration, with the same level of


 13
  Jaffe, Susan. US Election 2020: Research and Health Institutions. Lancet, 2020-24-October; 296(10259): 1320-1321.
 Accessed October 10, 2021, 10.1016/S140-6736(20)32204-2

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               unpredictability in the administration’s policies…Trumps’ campaign website includes

               a list of priorities, posted in late August (with) brief phrases and still lack specifics.

               There is no reference to the NIH, CDC, or FDA, nor is medical research mentioned…

           b. Center for Disease Control and Prevention (“CDC”). The Trump administration has

               also proposed cuts in federal funding for the CDC that Congress has rejected in favor

               of increases for the past three budgets. It has a current budget of…$8 billion

               and…13,000 employees…along with 10,000 contractors…The administration’s budget

               proposal for the 2021 fiscal year calls for a 9% reduction. The Trump campaign has

               pledged….’return to normal in 2021’…unless the Trump administration makes some

               changes to restore the CDC’s scientific integrity and respect, scientists will leave, and

               the agency will have difficulty hiring new people (J. Curran).

           c. Food and Drug Administration (“FDA”). The presidential candidates have very

               different visions for the FDA (D. Carpenter). ‘I think Biden is more trustful of civil

               servants and government scientists…If Biden wins, Carpenter thinks we will likely see

               ‘appointments to the FDA that strengthen public health’…After Trump touted the

               benefits of the anti-malaria drug hydroxychloroquine to treat COVID-19, the FDA

               used an emergency use authorization for the drug it later had to withdraw when studies

               showed the drug was ineffective and, for some patients, dangerous…at a White House

               press conference, he claimed the ‘historic’ action (convalescent blood plasma) would

               reduce COVID-19 fatalities by 35%...called it a ‘tremendous number,’ but it was also

               wrong.

    77. Plaintiff conducted comparison/contrast analysis regarding the fiscal interface in and among

       the NIH, CDC and FDA, inclusive of 501(c)3 entities to which each is affiliated.



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          a. The CDC has affiliate partners under the Emergency Partners Information Connection,

             (“EPIC”) consisting of domestic and international partners including community faith-

             based organizations, professional associations, nongovernmental and governmental

             agencies. (See: https://emergency.cdc.gov/epic/index.asp) Plaintiff states that there are

             limited legal guardrails regarding Public Private Partnerships, domestic and

             international, creating a grave vulnerability by which our government structures have

             been exploited by foreign enterprise and persons.

          b. Plaintiff retains a repository of some 1,700 non-profit organizations. Plaintiff states

             that the Internal Revenue Service (“IRS”) is culpable as to the stated claims herein,

             whether by internal directive or independent hand of staffing, there are victims on the

             other end of the administrative decision to turn a blind eye to blatant abuse of tax

             exemption.

          c. Kering and its Houses (Gucci, Saint Laurent, Bottega Veneta, Balenciaga, Alexander

             McQueen, Brioni, Boucheron, Pomellato, DodoQeelin, Ulysse Nardin, Girard-

             Perregaux, as well as Kering Eyewear collaborated with the CDC through the

             independent CDC Foundation, a non-profit created by Congress to extend the

             lifesaving work of the Center for Disease Control and Prevention (CDC) through

             public private partnerships, as attached, EXHIBIT 13.

                  i. The Kering Foundation is connected directly to Balenciaga, Plaintiff attaches

                     advertising (2022), EXHIBIT 14. Kim Kardashian, Oprah Winfrey, Salma

                     Hayek Pinault, Nicole Kidman, among others attended the fundraiser gala.




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               ii. The cross pollination of data between the Kering Foundation, Jeffrey Epstein

                  and other open source, including 501(c)3 analyses, those in bold are incoming

                  donations received:

                     Leonardo DiCaprio – Kering Foundation; Epstein.

                     Cate Blanchett – Kering Foundation.

                     Michael Rubin – Kering Foundation.

                     Naomi Campbell – Kering Foundation; Epstein.

                     Jes Staley, Barclay – Kering Foundation; Epstein.

                     Marc Benioff – Foundation research confirmed.

                     Chuck Schumer – Epstein.

                     Jean-Luc Brunel – Epstein.

                     Leslie Wexner – Epstein; Foundation research confirmed, MEGA Group.

                     Glenn Dubin – Epstein.

                     Alan Dershowitz – Epstein (Harvard pmt. History).

                     Marvin Minsky (former MIT professor) – Epstein.

                     Richard Branson – Epstein (see Ten Island Challenge – solar project,

                      below).

                     Steven Spielberg – MEGA Group.

                     Charles Bronfman – MEGA Group.

                     Edgar Bronfman – MEGA Group.

                     World Jewish Congress, Geneva Switzerland – MEGA Group.

                     David deRothschild – MEGA Group.

                     Max Fisher – MEGA Group (Ohio St. University, Epstein pmt history).

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                     Michael H. Steinhardt – MEGA Group.

                     Leonard Abramson – MEGA Group.

                     Harvey Morton Meyerhoff – MEGA Group.

                     Laurence Tisch – MEGA Group.

                     Charles Schusterman – MEGA Group.

                     AIPAC – Nonprofit confirmed.

                     American Friends of the Israel Philharmonic Orchestra – Epstein (pmt.

                      Records).

                     Ronald Lauder (World Jewish Congress) – MEGA Group.

                     Rupert Murdoch – Epstein.

                     Alan Greenberg – Epstein.

                     Lester Crown – MEGA Group.

                     Jack Kessler – Epstein; MEGA Group.

                     Jonathan Pollard – MEGA Group.

                     Michael Chertoff – MEGA Group.

                     Erik Prince (Blackwater) – MEGA Group; William J. Clinton

                      Foundation.

                     Peter Thiel – MEGA Group.

                     Eliot Tawill – MEGA Group.

                     Pinchas Buchris – MEGA Group.

                     Paul Singer – MEGA Group.

                     Eric Schmidt – MEGA Group.

                     Mark Walter – Open Source.

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                      Richard Blum – Epstein (990 C.O.U.Q).

                      John de Jongh – Epstein.

                      Leon Black; BV70 LLC – Epstein.

                      Robert Trivers – Epstein.

                      Erika Kellerhals – Epstein.

                      Nita M. Lowey – Epstein.

                      John Kasich – Epstein.

                      Bob Packwood – Epstein.

                      Alan Hevesi – Epstein.

                      Deceased: Bill Richardson; Tim Wirth; Eugene Watts; George H. W. Bush

                       – Epstein.

                      Stacey Plaskett – Epstein (secondary donor).

                      Chellie Pingree - Epstein (secondary donor).

                      Beto O’Rourke - Epstein (secondary donor).

                      Charles Rangel - Epstein (secondary donor).

                      Barack Hussein Obama - Epstein (secondary donor).

                      Mitch McConnell - Epstein (secondary donor).

               iii. Non-Profit Entities. Plaintiff asserts based on scientific analysis, that these

                   non-profit organizations follow the BCCI model benefiting from USAID,

                   funded by the taxpayers of these United States, moving money through each

                   other as grants in kind to advance political, social, and economic determinants.

                   The circumstances have become dire based on several interfacing, orchestrated

                   issues including: 1)open border with innumerous NGO organizations acting as


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                  conduits to those crossing, in many cases, the sojourner has already been

                  victimized through bribery, larceny and/or rape, becoming numb or conditioned

                  to the criminal acts perpetrated; 2)the inordinate abuse of the Legislative branch

                  in exacting USAID when they, in fact, are ancillary partners to the foreign

                  criminal enterprise which has resulted in the repugnant usurpations to the

                  Constitution from the time of BCCI’s inception to the present day; the

                  consequence to the foregoing, unequivocally eviscerating the Defendants’ Oath

                  of office and having grave impacts on humanity, gross violations of Civil

                  Rights Act of 1964 (Pub. L. 88-352, 78 Stat. 241, enacted July 2, 1964).

                  Plaintiff attaches EXHIBIT 15, Public Law 480, drafted in the enablement and

                  fiscal benefit of BCCI advancement. The foregoing extends to scholarships

                  awarded for academic pursuit as well as philanthropic endeavors. These

                  include:

                     Harvard University – C.O.U.Q. (Epstein non-profit) and Epstein.

                     Ohio State University – C.O.U.Q. (Epstein non-profit) and Epstein.

                     Monday Morning Political Action Committee – C.O.U.Q. (Epstein non-

                      profit).

                     National PAC, Inc. – C.O.U.Q (Epstein non-profit).

                     Democratic Party of New Mexico – C.O.U.Q (Epstein non-profit).

                     Freedom Project - – C.O.U.Q (Epstein non-profit).

                     Liberal Party of New York State - – C.O.U.Q (Epstein non-profit).

                     Interlochen Center for the Arts - – C.O.U.Q (Epstein non-profit).

                     MIT Media Lab - – C.O.U.Q (Epstein non-profit).


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                     The International Peace Institute - – C.O.U.Q (Epstein non-profit).

                     The Kuhn Foundation - – C.O.U.Q (Epstein non-profit).

                     Massachusetts Institute of Technology - – C.O.U.Q (Epstein non-profit).

                     Gratitude America, Ltd. - – C.O.U.Q (Epstein non-profit).

                     Atlantic Council - C.O.U.Q (Epstein non-profit, secondary donor recipient).

                     RAND Corporation - C.O.U.Q (Epstein non-profit, secondary donor

                      recipient).

                     New America - C.O.U.Q (Epstein non-profit, secondary donor recipient).

                     Lincoln Center for Performing Arts - C.O.U.Q (Epstein non-profit,

                      secondary donor recipient).

                     American Ditchley Foundation - C.O.U.Q (Epstein non-profit, secondary

                      donor recipient).

                     The Hauser Foundation - C.O.U.Q (Epstein non-profit, secondary donor

                      recipient).

                     Thomas Jefferson University - C.O.U.Q (Epstein non-profit, secondary

                      donor recipient).

                     International Crisis Group – C.O.U.Q (Epstein non-profit, secondary donor

                      recipient).

                     United Nations Capital Development Fund (UNCDF) - C.O.U.Q (Epstein

                      non-profit, secondary donor recipient).

                     Nobel Peace Prize - C.O.U.Q (Epstein non-profit, secondary donor

                      recipient).




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                     Eugene and Emily Grant Family Foundation - – C.O.U.Q (Epstein non-

                      profit, secondary donor recipient).

                     Joyce and Irving Goldman Foundation - – C.O.U.Q (Epstein non-profit,

                      secondary donor recipient).

                     Abraham Kamer Foundation - – C.O.U.Q (Epstein non-profit, secondary

                      donor recipient).

                     Leon D. Black Family Foundation - – C.O.U.Q (Epstein non-profit).

                     Melanoma Research Alliance – Epstein.

                     Deutche Telekom – Virgin Alantic.

                     Vonage Holdings – Virgin Atlantic.

                     Long Arc Capital, LLC. – Virgin Atlantic.

                     Stuart Eizenstat – U.S. State Department.

                     Mark Weitzman – World Jewish Restitution.

                     Agudath Israel of America.

                     Jeffries and Vitesse Energy, Inc.

                     Apollo Global Management, Inc.

                     Consilience Capital, LLC. and Consilience Capital International, LLC.

                     Triple Canopy, Inc.

                     Constellis.

                     Corporate Bridge Limited.

                     Banesco USA.

                     New America Foundation.

                     Ezra Zask.

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                     The Helmsley Trust and Foundation, a.k.a. Leona M. and Harry B.

                      Helmsley Charitable Trust.

                     The Solar Foundation.

                     Direct Relief.

                     The Children’s Investment Fund Foundation.

                     Africare.

                     Muslim Youth for Positive Impact.

                     CAIR Foundation.

                     Virgin Unite USA Inc. Foundation.

                     Npower Inc. Foundation.

                     Long Arc Capital and VeARC (India Private Ltd.)

                     The Jewish Federations of North America, Inc.

                     Paul E. Singer Foundation.

                     Wechsler Family Foundation.

                     The Jewish Community Center of Manhattan.

                     Uja-Federation of New York.

                     The Jewish Federations of North America.

                     United Israel Appeal.

                     Oechsle Family Foundation.

                     TPG Angelo Gordon.

                     Sam Altman.

                     California Community Foundation - – C.O.U.Q (Epstein non-profit,

                      secondary donor recipient).

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                     United Jewish Appeal – Federation of Jewish Philanthropies of New York -

                      – C.O.U.Q (Epstein non-profit).

                     The Related Companies, L.P. C.O.U.Q (Epstein non-profit, secondary

                      donor recipient – Hudson Yards (event support).

                     Moses Ginsberg Family Foundation - C.O.U.Q (Epstein non-profit,

                      secondary donor recipient).

                     Israel Venture Network - C.O.U.Q (Epstein non-profit, secondary donor

                      recipient).

                     Dualis Foundation - C.O.U.Q (Epstein non-profit, secondary donor

                      recipient).

                     Democratic Congressional Campaign Committee - Epstein (secondary

                      donor).

                     BillPAC - Epstein (secondary donor).

                     Kenan E. Sahin - Epstein (secondary donor).

                     DuPont - Epstein (secondary donor).

                     Silicon Valley Community Foundation - Epstein (secondary donor).

                     ExxonMobil Foundation - Epstein (secondary donor).

                     Charles Koch Charitable Foundation - Epstein (secondary donor).

                     American Petroleum Institute - Epstein (secondary donor).

                     AUSAID: Australian Government Overseas Aid Program - William J.

                      Clinton Foundation.

                     COPRESIDA: Secretariado Tecnico – Dominican Republic Government

                      Agency (AIDS) - William J. Clinton Foundation.


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                     Norway – William J. Clinton Foundation.

                     Kuwait, Qatar, Brunei, and Oman – William J. Clinton Foundation.

                     Jamaica and Italy: Ministry for Environment and Territory - William J.

                      Clinton Foundation.

                     Nasser Al-Rashid – William J. Clinton Foundation.

                     Friends of Saudi Arabia – William J. Clinton Foundation.

                     Dubai Foundation – William J. Clinton Foundation.

                     Taiwan Economic and Cultural Office – William J. Clinton Foundation.

                     Swedish Postcode Lottery – William J. Clinton Foundation.

                     China Overseas Real Estate Development – William J. Clinton

                      Foundation.

                     U.S. Islamic World Conference – William J. Clinton Foundation.

                     Lakshmi Mittal – William J. Clinton Foundation.

                     Harold Snyder (TEVA Pharmaceutical) – William J. Clinton Foundation.

                     Jay T. Snyder (US. Advisory Commission on Public Diplomacy) – William

                      J. Clinton Foundation.

                     Sheikh Mohammed H. Al-Amoudi – William J. Clinton Foundation.

                     Issam Fares – William J. Clinton Foundation.

                     Mala Gaonkar Haarman (Lone Pine Capital) – William J. Clinton

                      Foundation.

                     Lukas Lundin (Tanganyika Oil Company Ltd. and Vostok Nafta Investment

                      Ltd.) – William J. Clinton Foundation.

                     Victor Pinchuk – William J. Clinton Foundation.

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                                UNITAID – William J. Clinton Foundation.

                                Frank Luntz – MEGA Group

                                Karev Foundation – MEGA Group (Bronfman 990)

                                Dennis O’Brien and Digicel.

                                AIPAC. As a structured organization, AIPAC has exceeded lobbying status

                                 under Foreign Agents Registration Act (“FARA”), unquestionably affixed

                                 to the fraud herein disclosed, this statement is made evident in the history

                                 associated with the Prevezon herein. Plaintiff states that in 1999,

                                 allegations involving the MEGA group, Defendants, WILLIAM J.

                                 CLINTON, the CIA, the FBI and others circulated and were widely

                                 reported by the British author Gordon Thomas in Gideon’s Spies.14 At the

                                 forefront of headlines, a capitulating media body focused the American

                                 people on the Monica Lewinsky story, a mask to the undercurrent and

                                 duality. Plaintiff lists those organizations and parties so associated

                                 reserving the right to call them forward as Defendants to this action.

                                 Plaintiff asserts that AIPAC and its affiliates, including the Zionist

                                 Organization of America, have utilized the leverage of human lives

                                 inclusive, in the most atrocious manner of religious manipulation with the

                                 aid and consent of the British government under Belfour by way of the

                                 Rothschilds. Their collective actions have been affixed to control of

                                 monetary policy which the Defendants have capitulated, their efforts have

                                 resulted in death and carnage while continuing to maintain the leverage of


 14
  Steinberg, Jeffrey. “Israeli Spies: “Mega Was Not An Agent – Mega Was the Boss.” EIR National, August 31, 2001.
 Accessed January 10, 2024 https://larouchepub.com/other/2001/2833mega_spy.html

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                                     control citing religiosity interests while decidedly absent the human

                                     consideration, altogether. Plaintiff asserts that this ongoing historical

                                     narrative has permitted the foreign encroachment expressed in the body of

                                     this plea, entities permitted activity in the recesses and crevices of

                                     manufactured conflicts; it therefore becomes imperative that as a Nation,

                                     the United States determine its course forward, sovereign and apart from the

                                     encroachments of the past15 calling on Natural Law, and the Judeo-Christian

                                     values of our founding. AIPAC affiliated organizations, below:

                                         The Carlyle Group (Dan Senor)

                                         Fuel For Truth (Joe Richards, Ron Wasserman)

                                         University of Pennsylvania – The Wharton School (Philip M. Darivoff)

                                         New York University (Lester Pollack)

                                         Georgetown University (Ralph Nurnberger)

                                         University of Pittsburgh (Steven J. Rosen)

                                         K&L Gates LLP (Ralph Nurnberger)

                                         National Security Council (Dennis B. Ross)

                                         Fontheim International LLC (Jeremy Bash)

                                         U.S. Department of Housing and Urban Development (David Cordish)

                                         Vin Weber (Arne Christenson)

                                         Obama for America (Lee Rosenberg)

                                         Biden for President (Jeffrey E. Levine)

                                         Republican Leadership Council Inc. (Lewis M. Eisenberg)


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      Isaiah 11:4, Holy Bible. Zondervan Publishing.

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                        Ohio Democratic Party (Josh Block)

                        Washington Political Action Committee (Morris Amitay)

                        National Federation of Independent Business/Save Americas Free

                         Enterprise Trust (David E. Edman)

                        Obama-Biden Transition Project (Jeremy Bash)

                        Brookings Institution (Martin S. Indyk)

                        Council on Foreign Relations (Dan Senor)

                        Coalition Provisional Authority Iraq (Dan Senor)

                        KKR & Co., Inc. (Lewis M. Eisenberg)

                        Woodrow Wilson International Center for Scholars (Sander R. Gerber)

                        Cerberus Capital Management LP (Jeffrey B. Citrin)

                        Yale School of Management (Harley Lippman)

                        Columbia University School of International and Public Affairs (Harley

                         Lippman)

                        Mills College Roselyne Chroman Swig)

                        Democratic Leadership (Harriet Zimmerman)

                        Congressional Institute (Anew Christensen)

                        Inamed Corp (Dan L. Cohen)

                        Empower America (Dan L. Cohen)

                        New York Mercantile Exchange (Harley Lippman)

                        House Banking & Financial Services Committee (David Phillip Cohen)

                        Clinton Gore 1996 (Philip Friedman)

                        The Hebrew University of Jerusalem (Michael Stein)

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                        Fox News Channel (Dan Senor)

                        Adriano Espaillat (Joel Barkin)

                        SFMOMA (Roselyne Chroman Swig)

                        Urban Land Institute (Thomas Rosenfield)

                        Rosemont Solebury Capital Management (Dan Senor)

                        Nixon Peabody LLP (Adam E. Gilbert)

                        The Roffe Group PC (Joel Barkin)

                        Samson Investment Company (Stacy Schusterman – Schusterman

                         Foundation)

                        Baupost Group (Seth Klarman)

                        Levine Builders (Jeffrey E. Levine)

                        Beth Israel Deaconess Medical Center (Seth Klarman)

                        Cornell Medical College (Harold Tanner)

                        Palm Beach Civic Assoc. (Michael Stein)

                        Museum of the City of New York (Mitchell Steir)

                        BRG Management (Daniel Benedict)

                        Policy Planning Staff (Dennis B. Ross)

                        NYC Police Foundation (Mitchell E. Rudin)

                        United States Institute of Peace (Harriett Zimmerman)

                        Talpion (Henry Swieca)

                        Northwell Health (Richard A. Horowitz)

                        Center for Media and Democracy (Laura Lauder)

                        Granite Capital International Group (Lewis M. Eisenberg)

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                        Charles and Lynn Schusterman Family Foundation – MEGA Group

                        Energy Future Coalition (Norm Brownstein)

                        StudentFirstNY Inc. (Dan Senor)

                        Ruby Boschwitz (Arne Christienson)

                        Mizel Museum of Jewish history and culture (Larry A. Mizel)

                        SETI Institute (Russell S. Holdstein)

                        Embassy of the United States of America in TelAviv (Martin S. Indyk)

                        Federal Enforcement of Homeland Security Foundation (Harley

                         Lippman)

                        SL Green Realty Corp. (Andrew S. Levine)

                        Foreign Policy Initiative (Dan Senor)

                        Stonehenge Partners (Ofer Yardeni)

                        Jewish Federation of St. Louis (Kenneth Kranszberg)

                        Missouri Historical Society (Kenneth Kransberg)

                        Colorado Concern (Larry A. Mizel)

                        ITX Holdings Corp. (Lewish M. Eisenberg)

                        Hudson Bay Capital Management LP (Sander R. Gerber)

                        Chicago White Sox Ltd. (Robert Mazer)

                        Harbor Group International (Max Adelstein)

                        American-Israeli Cooperative Enterprise (Mitchell Bard)

                        William Rosenwald Family (Nina Rosenwald)

                        Grand Center, Inc. (Kenneth Kranszberg)

                        58th Presidential Inaugural Committee (Lewis M. Eisenberg)

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                        Steiner Studios (David S. Steiner)

                        Klarman Family Foundation (Seth Klarman)

                        Colorado State Patrol (Larry A. Mizel)

                        Paul E. Singer Foundation (Dan Senor)

                        HillStaffer, LLC (Thomas Rosenfield)

                        Schottenstein Family Office (Thomas Rosenfield)

                        Harmony Asset Management LLC (Thomas Rosenfield)

                        Jewish Federation of Greater Phoenix (Thomas Rosenfield)

                        The Bacon Companies (Thomas Rosenfield)

                        Riverdale Jewish Center (Joshua Landes)

                        Charter School Growth Fund (Stacy Schusterman – Schusterman

                         Foundation)

                        Ambulatory Surgical Centers of America LLC (ASCOA) (George A.

                         Violin)

                        Principled Equity Market Fund (George A. Violin)

                        Medical Eye Care Associates (George A. Violin)

                        Plaid Trust (George A. Violin)

                        MB Real Estate (Pamela Rose)

                        Jewish Education Team (JET) (Pamela Rose)

                        Our Soldiers Speak (Pamela Rose)

                        Leonid Radvinsky (OnlyFans)

                        Daniel Sundheim (D1 Capital Partners)

                        Milton Cooper (Kimco Realty)

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                              Tony Ressler (Ares and Atlanta Hawks)

                              Jonathan Gray (Blackstone Group)

                              Josh Harris (Apollo, Philadelphia 76ers, NJ Devils and Washington

                               Commanders)

                              Lloyd Blankfein (Goldman Sachs)

                              Julie Platt (Jewish Federations of North America)

                              Shlomo Rechnitz (Brius Healthcare Services)

                              Judd Zebersky (Jazwares)

                              Mark Penn (Stagwell Group)

                              Leslie Wexner (Victoria’s Secret)

                              Alberto Perlman (Zumba)

                              David Trone (D-Md.)

                              Richard Thalheimer (Sharper Image)

                              Ken Alterman (Savers Inc.)

                              Jacob Klein – NJ R/E Developer

    78. Seeking to analyze the established entities in a thorough manner, the Plaintiff cross-pollinated

       the findings with other 501c3 organizations as well as mergers and acquisitions. The mergers

       and acquisitions related directly to holding companies which followed the BCCI structure and

       modeling. There are three emergent facts, 1)the environmental Protection Agency grants,

       facilitated under the direction of Defendants, JANET YELLEN, JOSEPH R. BIDEN, NANCY

       PELOSI, ADAM SCHIFF, and CHARLES “CHUCK” SCHUMER by appropriation directive,

       are associated with solar ventures specific to the Caribbean (USAID model of grants) has been

       substituted for the Agricultural grants utilized at the time and inception of BCCI; 2)the persons


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       formerly associated with the decedent, Epstein, become recurrent; and 3)the names of

       associate fiduciary entities also recur. Findings as below, the affiliation with the Defendants

       unquestionable, the mentoring follows the same mapping as BCCI, including their former

       employers. Plaintiff states that the structure of the grants call into question the emolument

       clause, (Article 1, Section 9) conflict with foreign parties including the Doral Group, a.k.a. the

       Doral Group Renewable Energy Resources Ltd., Herzliya Waters Ltd. and the Jewish Colonial

       Trust with its associated financial entities, affixed to the Prevezon investigation, referenced

       herein, found to be laundering funds following the modeling of BCCI. The grants combine

       with the Global Environmental Facility (“GEF”) founded in 1992, work under and in

       collaboration with the United Nations Development Programme (UNDP), the United National

       Environmental Programme (UNEP), and the World Bank. At the direction of the Defendants,

       WILLIAM J. CLINTON and HILLARY R. CLINTON in 1999, funding commenced under the

       Treasury International Programs and later the Energy Sector Management Assistance Program

       under the World Bank.

                              By all accounts from the foregoing and the present Administration

                              which walks, lock-step with the Obama Administration, the foregoing

                              programs have been reconfigured under the Build Back Better extending

                              the Clinton Global Initiative, formerly the Clinton Foundation, in its

                              company. Plaintiff states, the Defendants have traded oil for soil, with a

                              top dressing of solar panels; the methodology is precisely the same as

                              the BCCI structure.

                          1. Solomon R. Guggenheim Foundation (2020, 990). Reported paying

                              $642,580 for janitorial services to Crothall Healthcare. Research



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                        confirmed that Crothall Healthcare is owned/operated by Compass One

                        Healthcare and Morrison Healthcare whose parent company is Compass

                        Group USA. Compass has a variety of divisions; Real Estate and

                        Compass One Healthcare in the United States operation and a corporate

                        Board in the United Kingdom. Evaluating operations in the United

                        States, below are brief biography of Board members:

                             a. Pamela Thomas-Graham: New York, formerly of McKinsey

                                and Company, serving prior at Credit Suisse, Liz Claiborn and

                                both CNBC and CNBC.com, presently serving on the Board of

                                Clorox, Bumble, Peloton, Bank of N.T. Butterfield & Son, and

                                Norwegian Cruise Lines.

                             b. Robert Reffkin (Founder – Realtor). Formerly with McKinsey,

                                Goldman Sachs, tenure as a White House fellow and America

                                Needs You (501c3).

                             c. Ori Allon (Founder). Formerly founder of Julpan acquired by

                                Twitter, founder of Orion, acquired by Google, hails from

                                Australia.

                             d. Neba Nevab (Realtor). Formerly of Google and McKinsey and

                                Co.

                             e. Rory Golod. Formerly of Bloomberg LP and Yext, Inc.

                             f. Charles Phillips. Former CEO Infor, former President Oracle,

                                Managing Director at Morgan Stanley, Board member Viacom,

                                Apollo Theater, the New York Police Foundation, Federal



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                                Reserve Bank of New York and Barack Hussein Obama’s

                                Economic Recovery Board.

                             g. Steven Sordello (Board member). LinkedIn where he oversaw

                                merger with Microsoft.

                             h. BCCI Comparative Analysis: McKinsey and Co., and, Goldman

                                Sachs, and Morgan Stanley has direct correlation. As will be

                                observed in the body of the complaint, the Federal Reserve of

                                New York, Barack Hussein Obama and LinkedIn as well as

                                media venues all and inclusively have direct correlation.

                     79. Donations: Plaintiff notes that the Guggenheim donations schedule is

                        as reflected below:




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                        80.

          a. The foregoing reflects a donation to “Central America and the Caribbean –

             Investments” in the amount of $58,957,000; exceptionally higher than its counterparts.

             Plaintiff sought to cross-reference the statement of the dedicated donor title as it is

             noted in thousands of 501c3, 990 reporting, same is reflected below.

                                a. Analysis of 80 Broad Street, New York, New York – Financial

                                    District, sample of tenants, (www.usearch.com).

                                         i. The Caribbean Tourism Organization (“CTO”) retains

                                            tenancy for which Hugh Riley, (CEO) Kevin Pile, (CTO)

                                            and Margaret King are stated as on location, tenancy

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                                                       listed as marketing consultant. Plaintiff analyzed the

                                                       history of the organization which provides that the Hugh

                                                       Riley is listed as the CTO Secretary General, appearing

                                                       on paper to be a consul designee of the Caribbean, “set

                                                       by the council of ministers and commissioners of tourism

                                                       and the CTO Board of Directors. Effective April 23,

                                                       2019, Mr. Riley has been replaced by Neil Walters, not

                                                       yet reflected on the USearch record.

                                                  ii. The CTO office promotes “United Nations World Travel

                                                       Organization, the World Travel and Tourism Council,

                                                       and even the Central American Tourism Promotion

                                                       Agency (‘CATA’) to foster greater collaboration…for

                                                       the Caribbean region.”16 It is undisclosed what, in fact,

                                                       the Guggenheim investment provides for, if for real

                                                       estate, that would reflect but there is no capital purchase

                                                       or depreciation. As disclosed in the broader 501c3, 990

                                                       analyses, “Central American and the Caribbean” appears

                                                       recurrently with distinctly large associated grant funds.

                                                 iii. International Commission of Labor Rights. Jeanne

                                                       Mirer, President. U.N. affiliated organization. Ms.

                                                       Mirer practices in the field of labor, employment and

                                                       civil rights law. President of the International


 16
   Caribbean Council. “CTO Upbeat About 20223 Caribbean Tourism Outlook – the Caribbean Council.” Accessed March 13,
 2024. https://www.baribbean-council.org/CTO-upbeat-about-2023...

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                                                           Association of Democratic Lawyers, a founding Board

                                                           Member of the International Commission for Labor

                                                           Rights and the Sugar Law Center.

                                                               HAITI

      81. Following WWI, the United States and Canada collaborated with Haiti in resolve of the

          outstanding debts owed France through a weighted settlement hindering economic

          sustainability, stagnating growth in order to maintain the payment structure demands. With

          the debts renegotiated and the newly formed constitution, Haiti reestablished trade routes for

          coffee, cotton and sugar, the nation-state was poised to compete in and among its trading

          partners. However, once WWII commenced the whole of the seas were tossed into

          commotion, literally and figuratively. The United States established the Haitian-American

          Society of Agricultural Development (“SHADA”) in 1940, the Export-Import Bank was

          developed with a budget of $12m (1943) with a Board of stakeholders, Haitian and Americans

          to advance the export interests of Haitians, allegedly. 17

      82. Contemporary history of Haiti becomes inconsolable as Plaintiff’s advocacy turns to the

          Clinton Foundation and its associated contributors, including event participants and donors.

          Plaintiff states that Defendants, WILLIAM J. CLINTON, HILLARY R. CLINTON, as

          facilitators and GEORGE W. BUSH and BARACK HUSSEIN OBAMA as colluders under

          color of law with the aid and consent of Congress, the Senate and the Treasury knowingly

          transacted $20 billion to Mexico under the Exchange Stabilization Fund (“ESF”) in January,

          1995, under guise of rescue package. “In February 1996, the Treasury Department announced

          that it was suspending payment of interest on government securities in the ESF’s portfolio in


 17
   Hubert, Giles A. War and the Trade Orientation of Haiti. Southern Economic Journal, Jan., 1947, Vol.13, No. 3(Jan., 1947),
 pp276-284. Accessed January 10, 2024 https://www.jstor.org/stable/1053341

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           order to create additional borrowing power for the government under the debt ceiling that

           Congress was refusing to raise.” 18 Plaintiff asserts that the Defendants have trafficked in

           persons, abhorrent in all constructs. Plaintiff further states that they have employed their

           capacities, titles, etc. to permit such action while simultaneously leveraging power against

           those who would seek to extinguish their actions; subversive in every way while securing

           emolument for themselves, treasonous under the Constitution of these United States.

      83. The ESF fund was “conceived to operate in secrecy”19 at its inception, absent annual appeals

           to Congress with reports of spending and appropriations, the fund invested and spent in a self-

           financing operational model. From the time of its inception until June, 1995, the ESF had a

           maintained balance of $42b. The absence of checks and balance found voice in 1977 with the

           Gold Reserve Act amendment (31 U.S.C. 5302(b)).

                          Future loans to a foreign entity or government for more than 6-months in any
                          12-month period required the President to give Congress ‘a written statement
                          that unique or emergency circumstances require a loan or credit for more than
                          6-months. A 1978 amendment (31 U.S.C. § 5302(c)(1)) provided for a monthly
                          statement to the House and Senate Banking Committees by Treasury ‘on all
                          agreements made or renewed, all transactions occurring during the month, and
                          all projected liabilities’ of the ESF…In 1990…a Treasury official indicated that
                          the department would be amenable to review by Congress of this ‘veil of the
                          greatest secrecy.’…Section §5302(c)…Congress should also receive reports of
                          the ESF’s operations…records reflect that in 1961, the ESF became active in
                          the foreign exchange market.20

      84. Applying the BCCI history, Plaintiff analyzed the warehousing of foreign currency correlating

           dates to the Senate Subcommittee investigations (1992), which closed with the alleged

           termination of BCCI operations. Between the period of January 17, 1977 and 1992, the

           warehousing held by the Federal Reserve of ESF foreign currencies altered its ceiling no less



 18
    Ibid. p136.
 19
    Ibid. p136.
 20
    Ibid. p137.

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          than seven (7) times, between 1990-1992, “the ESF repurchased amounts in the

          warehouse…when it was emptied. The ceiling was raised to $20 billion in January 1995 at the

          time of the Mexican bailout. No use has, however, been made of the warehouse since 1992.

          Another source of ESF funds was the sale of Treasury securities denominated in foreign

          currencies. These issued in 1962-1974…as Roosa bonds and 1978-79 as Carter bonds.” 21

          Sale of these bonds occurred to institutions in Austria, Belgium, Germany, Italy, Netherlands,

          and Switzerland and the Bank of International Settlements, $4.67 billion net, Carter bonds

          included German and Swiss private investors, $6.44 billion. By 1983, all bond issues were

          redeemed, resulting in net losses. Plaintiff contends the $20 billion subject of the funds

          advance Mexico on January 31, 1995, (FRB May 1995, p.447) at the direction of the

          foregoing Defendants was determinative, intent to defraud these United States.

      85. Plaintiff contends that the $20 billion was the mechanism to reinvigorate BCCI while ensuring

          the Defendants, WILLIAM J. CLINTON and HILLARY R. CLINTON capacity within the

          structured mapping. Plaintiff states that the ESF inclusive accounts, portray the fiscal

          accounting of this claim, a parallel image of conduct and business exchange apparatus to

          BCCI, including the bond structures, referred to as “Carter bonds,” 22 with the Defendant, the

          DNC, inclusive of then-President Carter absolutely engrained in BCCI as documented in the

          Senate Subcommittee’s investigative reports. Plaintiff analyzed the movements within the oil

          and gas industry during this time period, the facts provide that Mexico, Australia 23 and others

          had significant economic shifts including mergers and acquisitions as well as political shifts so

          associated.



 21
    Ibid. p143.
 22
    Ibid. 16.
 23
    National Library of Australia, Davis, Ian. $3bn Oil Merge Full Steam Ahead. Accessed March 10, 2024 via Canberra Times
 (Act: 1926-1995), Wednesday 29 March 1995, p.27. http://nla.gov.au/nla.news-article127520919

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    86. Plaintiff asserts that the Defendants, WILLIAM J. CLINTON and HILLARY R. CLINTON in

       the company of the Defendants, have capitulated by policy, vote and otherwise consent, have

       been the primary source of drug cartels and associated drug infestations within the

       communities of these United States. The facts are corroborated in the BCCI Senate

       Subcommittee reports, attached. The collective actions have lay siege on the African

       American population, resulting in entire families and, entire communities being fractured with

       jails and prisons so too reflective of their heinous actions; more broadly during COVID-19

       with our borders open and fentanyl among other drugs in free flow. Plaintiff asserts that the

       Defendant’s actions are reprehensible, utterly abhorrent with the facts providing that their

       actions were born of greed and self-aggrandizement while simultaneously professing publicly

       their feigned the champion of cause; their actions truly shock the human conscience. With this

       knowledge, it becomes very apparent that the Defendants, have simultaneously funded the

       apparatus of policy for both sides of a societal professing the opposite creating taxable events

       through appropriations, grant structures and the like. The unintended consequence has resulted

       in disparities of all citizens of this Nation of moral turpitude while they hold hostage of the

       inclusive embodiment, playing one against the other; this too follows the distinct BCCI model

       and mapping.

    87. Plaintiff contends that the foreign debts which crashed the Mexican economy in 1982 were

       contrived of BCCI strawmen much the same as William Browder attempted to conduct in

       Russia with the Hermitage structure. In furtherance of Plaintiff’s claims, beyond those facts

       herein disclosed, in 2009, the Carlos Slim Foundation partnered with Grameen Trust, a non-

       profit venture of Grameen Bank, funded by economist Muhammad Yunas in Bangladeshi,

       alleged to be servicing micro-loans for the financially challenged. On March 3, 2024,



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          Muhammad Yunas was found guilty of embezzlement of $2.3m, the embezzlement case

          involved a workers welfare fund of Grameen Telecom, a subsidiary of Norway’s telecom giant

          Telenor.24

      88. Plaintiff reiterates her claim as set forth above, the Defendants, WILLIAM J. CLINTON and

          HILLARY R. CLINTON have blood on their hands, but their depraved conduct and inhumane

          decisions could not have been realized without the willing partners manifest in the co-

          Defendants, their hands no less clean. Plaintiff has served in LaPaz, Mexico as well in New

          Orleans and Kenner, Louisiana for 20-years, although invited to Haiti by a dear friend who

          runs an orphanage, the trip could not be carved out of commitments. Speaking from those

          service experiences, these are good, honorable human beings whom Plaintiff endears as

          family; what the Defendants have done cannot be unseen; accordingly, she will not stand down

          her claims disclosed, the harms incalculable and growing expeditiously.

      89. Plaintiff attaches EXHIBIT 16, an analysis of IU Health Physicians, the Chicago Trust, Gavi

          Alliance, and Amnesty International. The detailing of the analysis clearly and distinctly

          provides for the movement of funds by allocation in and among parties which so too follows

          the BCCI modeling and structures. The subject foundations are a sample of the 1,700 retained

          in repository. Applying the knowledge disclosed in the sample of data, Plaintiff states:

              a. The organizations give to and receive from governmental entities, entwining taxpayers

                   in their action absent disclosure, knowledge, or consent, absent knowledge of the

                   organization, its affiliates, or associates as well their ethos and structures.

              b. A significant portion of funding through grants of non-profit entities flows to and from

                   Universities with a principal focus on biotechnology. Citing the events surrounding


 24
   Alam, Julhas. Nobel Laurate Muhammad Yunas is granted bail in a Bangladesh graft case. Accessed March 19, 2024.
 https://apnews.com/article/yunus-bangladesh-grameen-embezzlement-086bc980309f097ced134f2abe60009d

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             COVID-19, the undisclosed movement of taxpayer funding lacks transparency,

             providing opportunity for opaqueness and inviting corruption.

          c. The volume of nonprofit filings has exploded in recent years which follows the BCCI

             model and structures. Following the fiscal appropriations becomes increasingly

             difficult with subset organizations and sibling entities, Plaintiff states that these

             structures are intentionally devised to maintain a level of secrecy, central in character

             of BCCI and observed herein.

          d. The recurrence of dedicated donations, in large denomination, to “Sub-Saharan Africa

             – Angola, Benin, Botswana, South America; Central America and the Caribbean;

             Russia & Newly Independent States – Armenia, Azerbaijan, Ukraine” was observed

             consistently. The names appearing are identical to those within the BCCI structure and

             investigative reports associated with criminal activity including drug, munition, and

             human trafficking.

          e. While none of the 501c3 organizations affirmed political involvement, nearly all and

             inclusive are directly involved in lobbying in one form or another, with some

             disclosing “lobbying” within the grants outgoing.

          f. Part XI Statement of Functional Expenses differ in reporting from the accompanying

             Schedules C, F, or I – the fiscal accounting does not resolve or coincide. The only

             exception that was observed to the foregoing was Harvard University.

          g. By the evident samples, Plaintiff asserts that the Internal Revenue Service (“IRS”) does

             not or has not audited against 990 exempt returns, specific to organization activity and

             fiscal movement, alternatively the case could be made that the IRS in knowingly

             allowing the present practice. Plaintiff herself has a non-profit entity, the harm arrives



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               through the fact that the Liberty Project, Inc. honorably reflects the policies, protocol

               and designated requirements of the IRS Rules in conduct as well in fiscal management,

               having different Rules for different organizations, even those unwritten, has been the

               subject of case law (See Norcal Tea Party Patriots, et al. v. IRS, 1:13-cv-00341 and

               Linchpins for Liberty v. United States, 1:13-cv-00777)).

           h. Plaintiff is at present analyzing the associated fiscal investments associated with the

               analyzed 501c3, 990 repositories, there is an evident consistency which infers insider

               trading with many of the organizations lobbying for and obtaining grants directly from

               the Legislative branch. It could be inferred that the non-profits are providing grants to

               artificially prop-up other organizations as investment vehicles and the reverse is true,

               creating a mutually beneficial while fraudulent relationship; this structure is consistent

               with the BCCI model. This analysis will continue through discovery.

    90. Following the BCCI model, Plaintiff asserts that the economic failure experienced in Greece

       (2015) was born of BCCI mapping structures and strawmen. Plaintiff states that Defendant,

       WILLIAM J. CLINTON serves on the Board of HEMEXPRO, (Helenic Marine Equipment

       Manufacturers and Exporters), the Defendant’s Board capacity permits continued

       encroachment of the actions herein described by claim. Plaintiff has every reason to believe,

       given the disclosed facts, that HEMEXPRO so too has been compromised.

    91. Plaintiff calls on Congress to audit and disband the ESF and all associated “secrecy accounts”

       under the Federal Reserve structure, each providing for crevices of opportunity of future

       abuse, unconstitutional in their existence.

                                                 COUNT 4

              OCCIDENTAL PETROLEUM AND GLENCORE, CLARENDON LTD.



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    90. Plaintiff attached EXHIBIT 17, history and narrative of Ludwig Jesselson, the founder of

       Philipp Brothers (1901), metal merchant entity. The exhibit provides significant historical

       record of metal commodities, oil and energy as well the interface with United States policy.

       Philipp Brothers would go through a series of mergers and acquisitions, as below:

           a. Philipp Brothers would acquire Engelhard Minerals and Chemicals in 1967.

           b. In 1981 Philipp Brothers acquired Salomon Brothers, creating Phibro-Salomon, Inc.

               Phibro Energy, Inc. was established in 1984.

           c. In 1986, the name was changed to Phibro and in 1993 Phibro Energy, Inc. became the

               Phibro Energy Division of Salomon, Inc.

           d. In 1997, Salomon acquired the Travelers Group which merged with Citicorp to form

               Citigroup in 1998; through the merger, Salomon became an indirect subsidiary of

               Citigroup.

           e. Partnership between Simon Greenfields, former global co-head of commodities for

               Morgan Stanley purchased Phibro from Occidental Petroleum.

           f. Phibro announced intent to purchase the assets of Delta Energy Natchez, LLC

               (Connecticut) in January, 2024.

    91. Amand Hammer was founded in 1957.

           a. In 1973, Armand Hammer negotiated a 20-year agreement with Brezhnev of the Soviet

               Union. The joint agreement entwined Occidental Petroleum, Tower International and

               Armand Hammer with Occidental. Tower International was acquired by Autokiniton

               US Holdings, Inc. in September, 2019, also involved were Tiger Merger Sub, Inc.

               Tiger Merger Sub, Inc. is registered in Georgia as a domestic profit corporation;




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               however their legal filings history clearly discloses that it is a foreign entity, Philippine

               entity managed by Zama Capital Acquisitions Fund, LP (Alex Eiseman).

           b. Through this 20-year agreement, President Nixon became involved citing the trade (est.

               $20 billion) and the Export-Import Bank partially financed Soviet port facilities,

               designed by Armand Hammer’s firms.

           c. U.S. Senator Albert Gore, Sr. joined the Board of Directors.

           d. In 1974, Armand Hammer announced a 35-year oil exploration agreement with Libya,

               81% of the extraction would be conducted by Occidental Petroleum who would retain

               19%.

           e. In 1988 joint venture between Armand Hammer and Church & Dwight.

    92. Occidental Petroleum was founded in California (1920), since that time it has gone through

       mergers and acquisitions, as below:

           a. In 1970, U.S. Senator Albert Gore, Sr. became the Director of Occidental subsidiary,

               Island Creek Coal Company.

           b. In 1973, Libya nationalized 51% of Occidental’s assets, paying in cash.

           c. In 1988, Occidental acquired Cain Chemical ($2 billion).

           d. In 1993, Occidental sold off its remaining coal operations.

           e. In February, 2009, Occidental closed its Louisville polyvinyl chloride production plant.

           f. In October, 2009, the Occidental acquired Citigroup’s Phibro Energy Trading. In

               2016, Phibro would be again sold.

           g. In 2019, Occidental Petroleum acquired Anadarko Petroleum as well a history of the

               largest environmental contamination settlement in American history including the BP




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                   disaster (Deepwater Horizon). Warren Buffett pledged $10 billion to finance the deal

                   in exchange for 100,000 shares of stock.

               h. In 2022, Warren Buffet purchased additional shares of Occidental Petroleum, bringing

                   his holdings to 152.7 million shares, an estimated value of $8.5 billion.

               i. In December, 2023, Occidental announced acquisition of Midland-based oil and gas

                   producer, CrownRock, LP, joint venture of CrownQuest Operating and Lime Rock

                   Partners.

      93. Marc Rich and Pincus Green formed Marc Rich & Co. A.F. (Swiss registry) in 1974 as United

          States citizens, both parties previously worked for PhiBro LLC. Rich established his

          autonomous business and expanded with bank finance, as below:

               a. Trafigura.

               b. Vitol.

               c. Glencore.

               d. In 1979, following the overthrow of the Shah of Iran, Rich leveraged his relationship

                   with the Ayatollah Khomeini to purchase oil from Iran, despite the American embargo.

                   As reported by Forbes, Asadollah Asgaroladi helped Rich to bypass the embargo.

                   Accessing a secret Israel pipeline,25 Rich began transacting the Iranian oil by export.

                   In exchange for use of the pipeline, Rich helped Mossad agents with Iranian contacts. 26

               e. Formed Marc Rich Real Estate GmbH with real estate projects in Prague and the Czech

                   Republic.




 25
    Ammann, Daniel (October 13, 2009). The King of Oil: The Secret Lives of Marc Rich. St. Martin’s Press. ISBN 978-0-312-
 57074-3
 26
    The Economist. “March Rich, King of Commodities, died on June 26 th, aged 78” Accessed
 https://www.economist.com/news/obituary/21580438-marc-rich-king-commodities-died-june-26th-aged-78-marc-rich).

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              f. 1983 A federal indictment was filed on 65 criminal counts including tax evasion, wire

                   fraud, racketeering and trade with Iran during the oil embargo. Iran held American

                   hostages at the time of the unlawful oil bypass. Plaintiff accessed the FBI repository

                   which are appreciative. Beyond those matters outlined in the indictment, Rich was

                   involved in drug trafficking, organized crime, gang and cartel activity. He pled guilty

                   to the indictment paying $90 million in fines; however, he fled before being detained

                   for sentencing. In 2001, just being leaving office, Defendant and then-President

                   WILLIAM J. CLINTON pardoned Marc Rich and Pincus Green, Jack Quinn

                   represented them in the pardon. Lobbying for the pardon is a matter of record,

                   reflected in the attached exhibit, principally Eric Holder, Rich’s wife, Denise, and a

                   former Mossad Chief, Shantai Shavit.

              g. An investigation followed the pardon, Mary Jo White, appointed by John Ashcroft

                   serving as Federal Prosecutor. Mary Joe White stepped down before completing the

                   investigation and James Comey completed the investigation. The investigation

                   included Chief of Staff to Clinton, John Podesta, White House counsel Beth Nolan, and

                   advisor Bruce Lindsay.

              h. Defendant WILLIAM J. CLINTON authored an essay27 stating that Lewis “Scooter”

                   Libby was one of three distinguished lawyers who supported Rich’s pardon. 28

              i. John Quinn previously served as White House counsel and chief of staff to Al Gore.

                   Quinn advised during the course of the investigation that Eric Holder advised that




 27
    Wedemen, Ben. Head of Rich Foundation Defends Pardon. February 20, 2001. Accessed December 17, 2023.
 https://www.cnn.com/2001/world/meast/20/20/rich.foundation/
 28
    Snow, Kate and Flower, Kevin. Clinton-Barak Transcript Includes Talk of Marc Rich. August 20, 2001. Accessed December
 17, 2023 https://www.cnn.com/2001/allpolitics/08/20/rich.pardon/index.html

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               standard procedures be bypassed, and the pardon petition be submitted directly to the

               White House.

           j. 1981 Purchased 20th Century Fox, transacted to Rupert Murdock in 1984 for $232

               million due to assets being frozen related to the sale of Iranian oil.

           k. Rich’s contacted were appreciative including:

                   i. Kirk Kerkorian.

                   ii. Cary Grant.

                  iii. Former President Gerald Ford.

                  iv. Rubert Murdock.

                   v. Marvin Davis.

    94. Plaintiff asserts that Marc Rich, Pincus Green, Occidental Petroleum, Phibro and their

       inclusive subsidiaries were involved in drug smuggling, human trafficking and various other

       forms of criminal enterprise. Moreover, Plaintiff asserts that Occidental Petroleum is a

       conduit actor to the BCCI model, carrying forward its structure.

    95. Plaintiff asserts that the inclusive Defendants had full knowledge and participated in and

       among the criminal enterprise.

    96. Plaintiff asserts that following the transaction of $20 billion to Mexico in 1995, Defendants

       WILLIAM J. CLINTON and HILLARY R. CLINTON expressly while with the aid of the co-

       Defendants, emulsified the BCCI model into the government of the United States,

       compromising the citizens, the Plaintiff among them, to affix them as chattel in their enterprise

       having no merit of value but for their own self-aggrandizement. Plaintiff states as a matter of

       record, the inclusive Defendants have toiled to leverage these United States, aided and funded

       their apparatus in the manufacturing of idols worshiping, shifting every honorable citizen



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          while altering the social fabric broadly; their actions are abhorrent because its true nature is

          unseen.

                                                              COUNT 5

                                                     SEPTEMBER 11, 2001

      97. The Safari Club, Henry Kissinger, and Arab oil. Plaintiff asserts that through a variety of

          extraneous partners, foreign and domestic, the BCCI structure has entrenched itself in our

          Nations foreign and domestic affairs. Plaintiff states that the inclusive Defendants have

          knowingly acted in a manner to reinvigorate BCCI, a foreign enterprise, headquartered in

          United Arab Emirates connected through financial ties with Pakistan and Saudi Arabia,

          the BCCI collapse, its’ subsurface upheld by a series of shell companies, foreign entity

          entanglements otherwise constrained from doing business in the United States, while

          finding venue through BCCI with the assistance of extraneous parties including law

          firms, publicists and auditors by which they purchased United States real property, among

          a variety of other unlawful transnational exchanges. Plaintiff’s provocation calls to

          Richard v. Ramirez, 418 U.S. 24 (1974) in which the Supreme Court held, “…this

          distinguishes felony disenfranchisement from other forms of voting restrictions, which

          must be narrowly tailored to serve compelling state interests in order to be

          constitutional.”29 The holding of the Court calls to the Equal Protections Clause of the

          Fourteenth Amendment, the Court opined further in Pp. 418 U.S. 55, “largely through the

          accident of political exigency, rather than for the relation which it bore to the sections of

          Amendment.”30 The controversy in this case is the existence of felonious



 29
    Richardson v. Ramirez, 418 U.S. 24 (1974). Accessed January 10, 2021 via Justia
 https://supreme.justia.com/cases/federal/us/418/24/
 30
    Ibid.

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       disenfranchisement which exists as an undercurrent, lay hold and hostage of the

       uninformed as chattel while the parties to the malfeasance continue their actions,

       unstained by an informed electorate body, such knowing actions are abhorrent to the

       Constitution, disingenuous and made further entrenched by and through each election

       cycle.

    98. Plaintiff states that between 1993 and 1999, Kuwait-American Corporation, Yousef Saud

       Al Sabah (Chairman) held controlling share of Stratesec. Stratesec designed the new

       security system at the World Trade Center (“WTC”) following the 1993 bombing event.

       Also serving on the Board of Stratesec were Wirt Walker, III, cousin to George W. Bush,

       and Marvin Bush, George’s brother, as well as Charles Archer, the former Assistant

       Director in charge of the FBI’s Criminal Justice Information Services Division.

       Strategically, it would be in the interest of the Kuwaiti government to remove Sadam

       Hussein from power. In 1997, James Abrahamson became Director of Stratesec, he also

       co-founded Crescent Investment Management with Mansoor Ijaz, a Pakistani-American.

       Crescent’s Board of Directors included James Woolsey, the CIA Director appointed by

       Defendant, WILLIAM J. CLINTON. Stratesec provided the security for United Airlines,

       Dulles Airport, which was the departure for American Airlines Flight 77, subject of 9/11.

    99. Plaintiff states that Defendant, JAMES BAKER joined the Carlyle Group shortly after

       the 1993 WTC bombing. On September 11, 2001, BAKER was at the Ritz-Carlton in

       Washington D.C., also present were Frank Carlucci, former Chairman of BDM

       International, and George H. W. Bush. Carlucci represented the interests of the bin Laden

       family. The Washington D.C. event venue was hosted by the Carlyle Group. Frank




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       Carlucci had previously served as the Deputy Director, CIA under George H. W. Bush

       and had a working relationship with Defendant, JAMES BAKER.

    100.       Plaintiff states, Marvin Bush served as Stratesec Director (1993-2000), thereafter

       he became principal at HCC Insurance, one of the primary insurance carriers for the

       WTC in advance of 9/11, a fact of which was clearly known to the Defendant, GEORGE

       W. BUSH as well the co-Defendants, even while he stood with the American flag waving

       over that hallowed ground; absolutely abhorrent.

    101.       Plaintiff states, Science Application International Corporation (SAIC) provided

       non-governmental investigators to the WTC, they were also hired to investigate the 1993

       bombing incident. Plaintiff asserts that the Defendants knowingly imposed on and/or

       fraudulently thwarted the investigation having a full breadth and understanding of the

       truth all the while.

    102.       The history of HSBC would echo that of BCCI, in 1989 with HSBC Holdings plc,

       transference by acquisition from Great Britain to Hong Kong, retaining headquarters in

       Great Britain. In 1999, HSBC expanded into the United States with the purchase of

       Republic National Bank, two years after the purchase the founder of Republic National

       Bank would be convicted of fraud (2001). Four years later, 2005, following a fiscal

       investigation, HSBC was found guilty of laundering funds for terrorist organizations and

       drug cartels and in 2015, a whistleblower complaint affirmed that HSBC had been

       fraudulently involved in the movement of deposit funds to Swiss offshore accounts.

       Defendants, WILLIAM J. CLINTON and HILLARY R. CLINTON received donations to

       the Clinton Foundation through HSBC, citing federal disclosure law, and the sorted

       history of HSBC as to the herein facts, the People seek the subject records. Plaintiff



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       alleges that Defendants are in possession of documents as regards this matter having

       direct relation to the events of September 11, 2001 and the invisible hand, whether

       fiduciary exchange, consociationalism or other accommodation; the People, not being

       party to such contract or emoluments, herein make demand of transparency (See Title 18

       U.S.C. § 1519). Plaintiff acknowledges Judicial Watch v. U.S. Department of Justice

       (No. 1:18-cv-02105); however, citing the herein disclosures, Plaintiff reiterates the claim

       under the Economic Espionage Act of 1996 (EEA) Title 18 U.S.C. § 1831 at (4) the

       Defendants knew that they intended the offense to benefit a foreign government, foreign

       instrumentality, or foreign agent, or that it would do so.

    103.      Defendants, WILLIAM J. CLINTON, HILLARY R. CLINTON and LORETTA

       LYNCH, knew the HSBC history to which Senator Grassley, spoke of the HSBC matter

       in confirmation hearing held for LORETTA LYNCH, HILLARY R. CLINTON and those

       yet named averted the Grassley query. Plaintiff asserts that the foregoing is a matter of

       public record, irrefutable. The People seek the true nature of the conversation held on the

       tarmac and Benghazi for the good of our Nation and its national security.

    104.      Plaintiff read the 9/11 Commission report noting that it is void of reference to

       Marc Rich (“Rich”) whose pardon, in the company of Pincus Green coincided with the

       Defendant’s departure from office (1983) and days before Defendant’s public statements

       concerning the opportunity, he had to address Osama bin Laden, the statement was made

       within hours of the events on that fateful September morning. Plaintiff asserts knowing

       and malicious compromise of investigative integrity by withholding records concerning

       the foregoing matters. Plaintiff refers to declassified memorandum of December 4, 1998,

       subject “Bin Laden Preparing to Hijack US Aircraft and other Attacks,” and Washington



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       Post Article of July 18, 2004, “1998 Memo Cited Suspected Hijack Plot by Bin Laden;” it

       becomes apparent that the Defendant’s actions, being undisclosed to the American

       citizens, has placed the People is jeopardy, not once but multiple times. The record

       reflect that the Defendants have and continue to safeguard not the People but rather their

       culpability and their deeds. The People by way of the Plaintiff as their advocate demands

       the truth.

    105.       Plaintiff asserts that the Defendant, the DNC has knowingly aided the elected and

       appointed persons herein named as Defendants, abetted their activities, and are therefore

       no less culpable to their willful actions. One example is Alan Flacks who has a long

       history and one which is directly tied to 9/11. Mr. Flacks lobbies by convention of

       persons in the movement of Judges in New York City, among them Arthur Engoron;

       compromising all vestiges of Justice, the Rule of Law and the expectation of fair and

       equitable treatment in accordance with the law.

    106.       Given to the hand of monetary exchange whether through donor capacity or favor,

       political in nature or otherwise, Plaintiff asserts that an unlawful imposition on the public

       trust of the People has taken place, an unlawful trespass. As a consequence, the People

       have unwittingly consented to imposition on their Constitutional Rights, including but not

       limited to those of the Patriot Act, under pretense of fraud by contrivance. Moreover, that

       under such false pretense, the body of Defendants while holding the People to codified

       laws, otherwise abhorrent to their constitutional rights enumerated, the Defendants have

       and continue to willfully, overtly, and covertly, advance schemes in retention of their

       deceitful reliance. The Marc Rich investigation was conducted by persons who have

       come under scrutiny of character with the passage of time, that judgment is not the



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             Plaintiff’s, rather an interview of their own conduct; given to the history of persons being

             buttressed by surrogate or designee to such investigation, Plaintiff calls to the facts in the

             FBI investigative record from the Rich repository, which suggests reasonableness to the

             foregoing statements. Citing Rule 15c1-5 (17 CFR 240.15c1-5), which was adopted “to

             protect the public by prohibiting a broker or dealer from inducing the purchase or sale of

             any security by any act, practice or course of business which would defraud or deceive

             any person”31 Plaintiff seeks justice.

        107.          Plaintiff calls to reports by the Hill citing Defendant, HUMA ABADIN as being

             comprised by foreign enterprise, chiefly to the Muslim Brotherhood by lineage, her

             association troublesome when considering the scope of their criminal acts. Citing the

             inclusive facts presented, Plaintiff seeks assurance as a taxpaying citizen of these United

             States concerning this query, in writing, noting Senator McCain’s interface with

             Abdelkarim Belhaj at Benghazi. The source of the record was a sitting Senator who,

             sharing concern as the to the Plaintiff, sent advisement to Directors within the United

             States Military, DHS, etc. The threat concerning enemies foreign and domestic no less

             relevant today as the time of authorship.

        108.          Plaintiff states that the Defendant, the REPUBLICAN NATIONAL

             COMMITTEE (“RNC”) stood down their Charter role of vetting and mentoring

             candidates, extending to include Presidential candidates, a component of their Charter.

             Plaintiff states that the Defendant, RNC has affixed their determinative activities towards

             the election cycle, forgetting their role in advocacy of their member body, our Nation’s

             Veterans, senior citizens, and children who are struggling with drug addiction, anxiety,



 31
      Security and Exchange Act of 1934. Accessed January 4, 2021 https://www.sec.gov

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       and depression; the consequences of recurring failed policy resulting in the loss of life,

       including suicide, is simply unacceptable. Elections have consequences and the

       Defendant’s advocacy for transparent, 1 person/1 vote policies has been absolutely void

       but for very few voices. Plaintiff met with 113 Legislators, County officials and Boards

       of Election from 2020 until 2023, not one chose to walk this journey to the truth with the

       Plaintiff. Plaintiff states that the REPUBLICAN NATIONAL COMMITTEE is no less

       culpable for the state of our Nation than the co-Defendants.

    109.      Plaintiff asserts that Defendants THOMAS KEAN SR. and ROBERT MUELLER,

       have knowledge or have withheld records (See 18 U.S.C. § 1519) regarding bank

       accounts of and belonging to Omar al-Bayoumi associated with RIGGS Bank as well as

       the inclusive records of dialogue by and between United States designees and Saudi

       Arabian designees ten days advancing and ten days following September 11, 2001.

       Plaintiff refers specifically to the funding of 9/11 and Saudi Arabia. Absent disclosure,

       Plaintiff asserts that the investigation was knowingly steered towards a determinant

       finding, so as to avoid public disclosure in an effort to defraud and/or abrogate the

       investigative integrity. (See United States v. Burgin, 621 F.2d 1352, 1356 (5th Cir.), cert.

       denied, 449 U.S. 1015(1980); see United States v. Herron, 825 F.2d 50, 57-58 (5th Cir.);

       United States v. Winkle, 587 F2d 705, 708 (5th Cir. 1979)). The entire body of Defendants

       knew of the foregoing facts, inclusive of those Senators and Congresspersons seated at

       the time and since; Plaintiff reserves the right to call such persons as this case moves

       forward.

    110.      Plaintiff asserts that persons exist by appointment or designation who are acting

       as consuls, holding allegiance to a foreign nation-states; these persons having been



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       knowingly embedded into the United States government, a treasonous act,

       unquestionably seditious conspiracy under color of law, including in and among the

       Defendants.

    111.       The banking entities herein have been found guilty of laundering funds for

       repudiated persons and organizations, they have paid settlements but given to the

       redundancy of behavior, the message has not been received. The People are held to a -0-

       tolerance standard as are our children in their educational venues, we expect that those

       same standards will be mirrored by our elected representatives and those with whom we

       do business; that is simply not the case. Plaintiff asserts a nexus between BCCI and FTX

       through Almeda Research as well as Appleby. Plaintiff asserts the foregoing parties share

       a nexus with the Securities and Exchange (“SEC”) Chair who previously served as the

       Defendant, HILLARY R. CLINTON’s Campaign Finance Chairman, a strawman. The

       foregoing statement is heightened with the knowledge that BCCI shared a close nexus

       with Tether and BitFinex, both maintain offshore accounts in the Virgin Islands. BCCI’s

       founder was of Pakistani descent, given direct aid by the House of Saud; the 9/11

       perpetrators allegedly of the same descent. BCCI, Occidental Petroleum and Philbro

       through the petition and receipt of United States taxpayer Public Law 480 funds were

       laundered by the blood of our citizenry, all the while the Defendants’ schemes advanced

       as an undercurrent around the globe. Plaintiff asserts that the checks and balances to

       Government designed by the Founders and believed by the People to be present have

       been knowingly compromised to the point of criminal conduct, these allegations, ripe for

       exploitation by extraneous parties, expose a security threat to these United States and her

       citizens.



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    112.      Plaintiff states, in the honor of LAKEN RILEY, an innocent, the foregoing

       matters are made imperative when consideration is given to the actions of the Defendant,

       JOSEPH R. BIDEN concerning Title 42 and our border security managed by Defendant,

       ALEJANDRO MAYORKAS. Plaintiff states without equivocation, the People, unaware

       of the level or depth of the Defendant’s compromise, their consented agreements hidden,

       it is WE THE PEOPLE who will bear the burden of the Defendant’s choices. Plaintiff

       further states that she will not stand down to anyone, these two Defendants are guilty of

       murder, the blood on their hands cannot be washed off. Mr. and Mrs. Riley’s child was

       stolen from them by the Defendant’s political prerogative, wholly unacceptable, an

       abhorrent policy crafting, regardless of political ideology.

    113.      Plaintiff reviewed the BCCI reports in conjunction with the Rich Affair,

       Occidental Petroleum and every extraneous actor or third party, at nausea. It is

       unequivocal that Defendants JOHN KERRY, JAMES COMEY, CHRISTOPHER WRAY

       the CIA, the FBI, and the Treasury Department retained undisclosed facts in evidence, the

       absence of their disclosure has caused and continue to cause harm to our Nation; a review

       of the FBI unclassified documents unequivocally confirms the foregoing statement. The

       fact that the information was knowingly withheld is, itself, an act of sedition, aiding and

       abetting foreign enemies.

    114.      Plaintiff asserts that Defendant JAIMIE GORELICK worked for HSBC as did

       other Defendants herein. The Defendant served as the driving force in the

       reconfiguration of intelligence communication following 9/11, a thorough review of the

       facts discloses that the Defendant, JAIMIE GORELICK withheld facts, knowingly, to the

       detriment of the United States, an act of treason. Plaintiff states that the structured



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       changes in government following 9/11 were undertaken not in the interest of the People

       but rather in the interest of the co-Defendants, rather in ensuring the treachery and

       secrecy of the inclusive Defendants, in perpetuity. Defendant, JAIME GORLICK has

       knowingly contributed to the border issues presently being experienced, compounded

       them knowingly, the manifest origins affixed to the exact events which gave rise to

       September 11, 2001. The co-Defendants have eroded public trust by their actions,

       irrevocably. Their actions, treasonous in every way.

    115.      Plaintiff asserts that there is a duality, two prongs of revenue stream that flows

       from BCCI et al. to which Defendants, WILLIAM J. CLINTON and HILLARY R.

       CLINTON remain unquestionably principal collaborators. The first prong is the obvious

       oil contracts, the second involves the club – apprenticing others into the undercurrent

       structure under the guise of “doing good”; the second duality or gemini twin is trafficking

       in human beings and drugs. The oil contracts also share a duality, oil, and weapons,

       including nuclear weaponry, Plaintiff refers to Uranium One tying to Urs Tinner with the

       aid of the CIA. The trafficking ties directly to the facts herein and discloses why Harvey

       Weinstein’s Connecticut property was torn down to raw land, Jeffrey Epstein died by

       suicide, many in the wake of the rogue wave that the Defendants’ vessel has poured out

       over these United States. The events to which the Defendants participated will not go

       away by removing or destroying the venue of the acts, they are etched in the minds of the

       People, Plaintiff included. The FBI declassified records, dating back to 1980 include

       specific reference to the Defendants and “pizza investigation” corroborating the

       statements and claims hereto. In 1984, Gaetano Badalamenti and 30-mafia members




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       were arrested for cocaine and heroin trafficking between 1975 – 1984, the prosecutor in

       the case associated with “Russiagate.”

    116.      Plaintiff asserts that the aforementioned laundering activities continue to the

       present day, conducted by presently undisclosed shell organizations. Plaintiff specifically

       refers to Avantus and its subsidiaries, who act in conjunction with the Treasury and HUD,

       a conduit to housing counselors, securing 4506C (tax disclosures) for processing

       mortgage modifications, on the rise due to economic indicators, see EXHIBIT 18. Since

       COVID19, Avantus has been subject of multiple lawsuits, registered to Louis R.

       Capobiano, former business Credit Bureau of Connecticut, Inc., 600 Saw Mill Road,

       West Haven, CT (1971), the company has changed names to Xactus, same address with a

       larger online presence. Xactus has also been subject to violating of federal laws under

       the Fair Credit Reporting Act. The Defendant, MARCIA FUDGE has made absolutely

       no effort to protect homeowners who, at a time of extraordinary vulnerability, trust that

       government entities will have vetted their sourced, certified housing counselors. The

       Defendants’ actions are consistent with her peer Defendants, precisely why it drew

       Plaintiff’s attention. Plaintiff states that the Defendant, MARCIA FUDGE has

       unequivocally failed the homeowners of these United States by not ensuring proper

       vetting benchmarks, creating extraordinary risk of disclosure of private information,

       exacerbating an already difficult situation for vulnerable homeowners.

    117.      Plaintiff asserts that the Bank of England, Minera Resources, Ltd., Lion Electric,

       and the body of existing international auditing entities have been compromised by the

       foregoing activities. The Abu Dhabi government was a majority shareholder in BCCI at

       the time of its collapse, liquidation reports provide that Abu Dhabi agreed to compensate



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          small creditors by contributing $2.2bn to the bank’s liquidation funds. The United Arab

          Emirates was likewise associated through Union National Bank. In 2002, investigative

          journalist Denis Robert and Ernest Backes discovered that BCCI had continued to

          maintain operations under Clearstream International. Plaintiff researched Clearstream

          findings as follows, a Luxembourg securities settlement system, associated with the

          Central Bank of Luxembourg and Deutsche Bank; incorporated by the Grant Duchy of

          Luxembourg under LuxCSD in July, 2010, it is described by the central banks as the

          “bank of banks.”32 In 1995, a new corporate structure was introduced, establishing the

          parent company, Cedel International with subsidiary Cedelbank, followed by Cedel

          Global Services. In January, 2000, Cedel International merged with Deutsche Borse

          Clearing, full integration of Clearstream in July, 2002. In 2014, a controversial film was

          made, entitled The Clearstream Affair. Plaintiff states that Clearstream was the recipient

          of the Mexico funding in 1995 of $20 billion. Plaintiff refers the Politico article of

          January 31, 1995, wherein Clinton warned that an insolvent Mexico could lead to an

          influx of illegal immigration into the United States…he predicted that, unless he acted,

          American exports to Mexico would dwindle, disrupting the U.S. economy. Plaintiff

          asserts that the Defendants WILLIAM J. CLINTON and HILLARY R. CLINTON were

          not “helping their neighbor,”33 the facts disclose that they were helping themselves.

          There have been settlements by private parties with Deutsche Borse AG through the

          Office of Foreign Assets Control, (“OFAC”), FOIA applications will follow before claims




 32
   Norman, Peter (2007). Plumbers and visionaries: securities settlement and Europe’s financial market. Chichester, England
 Hoboken, New Jersey; John Wiley & Sons. ISBN 978-0-470-72425-5. OCLC 297185749.
 33
   Glass, Andrew. Clinton Bails Out Mexico, January 31, 1995. January 31, 2019. Accessed March 10, 2023.
 https://www.politico.com/story/2019/01/31/this-day-in-politics-jan-31-1995-1129932

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       presented; however, the facts thus far align with the other analysis of structures and

       organizations.

    118.      Plaintiff asserts that the inclusive body of Defendants each had intimate

       knowledge of the dual activities that swam in the undercurrent of these United States, not

       one of them stepped forward to tell the truth in these matters, allowing human beings to

       die by suicide, drug addiction, COVID-19, etc.; their inhumanity is truly incalculable.

    119.      Plaintiff refers to the House Judiciary Committee on June 21, 2023, authored by

       John Durham, Special Counsel. In paragraph 2, Mr. Durham gives reference to the

       cornerstone issue that all American people are asking themselves based on the extreme

       degrees of mixed messaging that has been broadcast by those holding office from both

       political parties; that issue is accountability in law and policy, uncompromised. The

       Durham report, as it has been referred, is consistent with the facts disclosed herein.

       Plaintiff states that evident conflicts to national security were present regarding the head

       of the FBI, Defendant JAMES COMEY and the body of Defendants, the conflicts of

       interest abound so as to dismiss coincidence or a one-off, Defendant, JAMES COMEY’s

       association with HSBC during the period that the bank was found to be laundering funds

       for repudiated criminals, admittedly not alleged, is merely one such example which

       suggests an apprenticeship model with was intact with BCCI. The Defendant was

       directly involved in the investigation following the Marc Rich pardon, 9/11, Russiagate,

       etc. all of which fortifies the Plaintiff’s claims herein and serves to further erode public

       trust. Plaintiff seeks transparency of the records withheld for the good of our Nation.

    120.      Plaintiff asserts that the nation-state of Saudi Arabia was involved in the planning

       and carrying out of 9/11. Members of the New York City Police and Fire were corrupted



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       with many brought to justice following the events of that tragic day. To be clear, the

       Defendants seek our partnership in their actions; that partnership changes the perception

       of their actions, mitigating culpability but changing society as whole. The facts

       surrounding the social security scam involving Glenn Lieberman are particularly strange

       with Leiberman owning multiple businesses, the facts infer similar structure as BCCI and

       HSBC on a smaller scale – learned behavior. What has never been addressed is the truth,

       unvarnished; the inconsolable tragedies which continue to unfold to this very day by that

       event are unfathomable, it is unquestionably a moment in time that will forever be

       captured in the minds of the American people. The war racket must come to an end,

       seeding hatred to mask the self-deprevation will not cease until and unless those

       responsible are brought to Justice and the truth made known for the good of all

       inhabitants in the United States and more broadly.

                                                COUNT 6

    I. ADENOVIRUS AND RELATED PRE-EXISTING FACTS.

    121.      In 2012, the New Jersey Senate and Assembly enacted S782 supplementing the

       existing disclosure requirements under P.L. 1971, c.136 (C.26:2H-1 et seq.) concerning

       general hospital licensure for profit entities disclosure of fiscal statements. P.L. 1971, c.136

       (C.26:CH-1 et seq.) was crafted to provide legal benchmark of accountability and

       transparency.

    122.      Plaintiff attaches New York Public Health Law 28-2801A, EXHIBIT 19. The law

       reads, “The PHHPC shall not approved an application unless it is satisfied as to the character,

       competence and standing in the community of the proposed directors, stockholders and

       operations…shall affirmatively find that a ‘substantially consistent high level of care’ is or was



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       being rendered in each facilitate affiliated with the person being reviewed…’shall not’ be a

       finding of a high level of care where there are violations that threatened patient health and

       safety, and where recurrent or not promptly corrected.” Plaintiff states that in advance of

       COVID-19, during the outbreak and in the time since, the State of New York has not

       conformed to its standing law, as a direct consequence, grave human harm has resulting

       including the death of citizens. Plaintiff attaches EXHIBIT 20, CDC records which inform

       that the State of New York and the Defendants, ANDREW CUOMO, KATHY HOCHUL and

       LETITIA JAMES failed the resident citizens, including the most vulnerable, those in nursing

       homes.

    123.        The CDC report indicates appreciative areas where the State of New York was derelict

       in carrying out its statutory responsibility on behalf of the People, allowing for immeasurable

       vulnerability. The CDC reporting in exhibit 1 clearly testifies, the Defendants, ANDREW

       CUOMO, KATHY HOCHUL and LETITIA JAMES knowingly allowed for the citizens of

       New York, most certainly the frail and vulnerable, to expire, abbreviating their lives just as

       sure as if they placed a pillow over their face and smothered them with their own hands;

       heinous because in their frail vulnerability, they were left alone, no phone, no family and no

       advocate of staff; they were not there of their own volition, rather because of the Defendant’s

       dereliction. Plaintiff asserts that the decisions of the Defendants herein named, inclusive, is by

       action and deed, the very definition of malicious indifference/depraved-heart murder. (See,

       USA v. Daniel Draper, No. 17-15104 (9th Cir. 2023))

    124.        In 2014, Governor Christie executed P.L. 2013, c.195, legislation was introduced

       requiring the Commissioner of Health to review financial reporting of hospitals with the

       examination to include fiscal reporting made to the “Internal Revenue Service (“IRS”),



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           Securities and Exchange Commission (“SEC”), and audited financial statements of all

           affiliated entities receiving Health Subsidy funds payments.” 34 The foregoing policies and

           legislative actions combined with the Health Care Facilities Planning Act (N.J.S.A. 26:2H-1

           et seq.), known commonly as the Planning Act which advanced regulations under N.J.S.A.

           8:31B-1.1 et seq. The detailing of the Planning Act included an early warning system

           (“EWS”) to ensure transparency to the public of financial distress. 35 Hospitals, rehabilitation

           facilities and nursing homes have a history of complex financial ownership structures, this

           complexity was subject of the March 19, 2019, report of the Commission of Investigation.

           The purpose of the report was to outline “findings and recommendations involving hospital-

           related oversight and accountability issues,”36 Plaintiff analyzed the report as it concerns the

           New Jersey response to COVID-19.

       125.          The New Jersey Department of Health failed to follow regulatory requirements in a

           variety of areas including the EWS system, tracking of hospital (for-profit and not-for-profit)

           ownership as well as “related-party management entities” 37 The report stands on its own

           merit, while complex in content, it indicates appreciative areas where the New Jersey

           Department of Health was derelict in carrying out even the most basic of statutory

           responsibility on behalf of the People, allowing an immeasurable vulnerability to enter by

           force or manipulation. The foregoing report highlights the complexities of hospital/nursing

           home/rehabilitation center fiduciary ownership and related parties, it applies directly to the

           People’s plea. As exhibit 1 clearly testifies, Defendants, PHILIP MURPHY, TAHESHA


  34
     State of New Jersey Department of Health, “Hospital Financial Transparency – Department of Health Recommendation on
  Hospital Financial Transparency.” Accessed July 6, 2022.
  https://www.nj.gov/health/assets//documents/hospital_transparency_report.pdf
  35
     Ibid., 4.
  36
     Scancarella, Joseph, Bursichelli, Robert, Iannacone, Rosemary. State of New Jersey Commission of Investigation Report and
  Findings. March 19, 2019. Accessed June 10, 2022. https://www.nj.gov/sci/pdf/HospitalsReport.pdf
  37
     Ibid. (2).

                                                              102
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               WAY, JUDITH PERSICHILLI, SEJAL HATHI and MATTHEW PLATKIN knowingly

               allowed for the citizens of New Jersey, most certainly the frail and vulnerable, to expire,

               abbreviating their lives just as sure as if they placed a pillow over their face and smothered

               them with their own hands; heinous because in their frail vulnerability, they were left alone, no

               phone, no family and no advocate of staff. Plaintiff asserts that the actions of the Defendants

               herein named, is by action and deed, the very definition of malicious indifference/depraved-

               heart murder. (See, USA v. Daniel Draper, No. 17-15104 (9th Cir. 2023)).

         WANAQUE, HASKELL, NEW JERSEY (2018).

         126.          Plaintiff refers to the infectious disease physician, retained by the Wanaque Center

               following the outbreak, Dr. McManus who stated, the “…consequences were attributable to a

               particularly dangerous strain of virus (adenovirus7) that afflicted a very vulnerable

               population…nothing in the (State) report identifies systemic deficiencies in policies or

               procedures, and there is no suggestion that the deficiencies identified contributed to the viral

               outbreak,” [EMPHASIS ADDED] the interview continued…the strain of adenovirus

               (Adenovirus 7) is “known to cause particularly severe illnesses that affect the respiratory

               system – especially among patients like those at Wanaque…(with) preexisting medical

               conditions and a shared living environment.”38 Plaintiff reiterates, the inclusive New York

               and New Jersey Defendants had every tool accessible and at their disposal, they chose not to

               use it; abhorrent.

         127.          The Wanaque Center for Nursing and Rehabilitation, (“Wanaque Center”) in Haskell,

               New Jersey experienced an outbreak of adenovirus in 2018. The outbreak resulted in the

               untimely death of eleven (11) children who were in care at the for-profit facility’s pediatric



  38
       Ibid.

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           unit for the medically fragile. The Wanaque Center adenovirus outbreak prompted

           appreciative legislative evaluation, leading to national press articles, federal investigation and

           CDC involvement. Ultimately, the New Jersey governmental bodies cumulatively drafted the

           legislative action entitled P.L. 2019 c.243 “Long-term Care Facilities”. 39 The legislative

           detail provided for appreciative safeguard requirements inclusive of outbreak response “of a

           life-threatening, contagious disease,”40 with extensive human welfare guardrails, the

           development of interdisciplinary teams with an infectious control committee and succinct

           framework for building and implementing an outbreak response plan, extending to areas for

           isolation, cohorting, infected, and at-risk patients who might come into contact with or be

           exposed to threatening contagion. The legislation was executed six (6) months in advance of

           the COVID-19 outbreak by Defendant, PHILIP MURPHY to much fanfare, following

           exceptionally detailed legislative hearings due to the loss of life; New Jersey was in the unique

           position of vast data, quantitative findings, and legislative directives, yet New Jersey failed, at

           every crossroad of the pandemic.

       128.         Plaintiff states that in July, 2019, the Wanaque Center licensing was transferred to

           SentosaCare and renamed to North Jersey Pediatric and Adult Nursing Wellness Center.

           SenosaCare is New York’s largest owner/operator of nursing homes in the State with twenty-

           five managed facilities. On September 23, 2019, U.S. District Court Judge Gershon issued an

           Opinion and Order regarding Paguirigan v. Prompt Nursing Employment Agency LLC. d/b/a

           SentosaCare LLC et al. (17-cv-1302 (NG (JO) (E.D.N.Y. Sep. 23, 2019) for violations

           involving Trafficking Victims Protection Act under 18 U.S.C. §§1589 et seq. The case



  39
     Public Law 2019 c.243 (A5527),” P.L. 2019, c243b (New Jersey Legislature, August 15, 2019). Accessed January 10, 2022
  https://pub.njlet.gov/bills/2018/PL19/243
  40
     Ibid., 1.

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           resulted in a $1.56M settlement. The facts provide that the Defendants, ANDREW CUOMO,

           KATHY HOCHUL and LETITIA JAMES ignored internal standing policy in the interest of

           the most vulnerable, despite the standing law, (See Public Health Law, Article 28-2801A)

           human lives were left exposed due to dereliction on the part of the Governor’s office and their

           public advocate, as a result a nursing home owner/operator of evidenced conflict in meeting

           the legally described threshold of “satisfact(ory)…character, competent and standing in the

           community of the proposed directors, stockholders and operators” in New York, assumed

           management of a property in New Jersey, a property was an preexisting complex history as

           setforth above. Plaintiff states that the Defendants, PHILIP MURPHY, TAHESHA WAY,

           JUDITH PERSICHILLI, SEJAL HATHI and MATTHEW PLATKIN were derelict in the

           absence of vetting the management of SentosaCare as to the Wanaque Center transference,

           unconscionable given the history of the property.

       129.          The U.S. Department of Health and Human Services (“HHS”), Civil Remedies

           Division record provides an extensive repository regarding Wanaque, 41 dating from August,

           2019 through October 10, 2019 (Docket No. C-20-162) 42. In August, 2019, one month after

           assuming responsibility of the Wanaque Center, a “facility housekeeper abused (raped) a

           defenseless resident,”43 site visits remained ongoing throughout the investigative period to

           ensure compliance under 42 C.F.R. § 483.12(a)(1); a final Decision was issued on February

           15, 2022 (CR6030), the perpetrator of the sexual abuse held to count. Plaintiff reiterates cause

           of action as to the culpability of the joint Defendants, herein as above, ANDREW CUOMO,

           KATHY HOCHUL, LETITIA JAMES, PHILIP MURPHY, TAHESHA WAY, JUDITH


  41
     U.S. Department of Health and Human Services (2022). “The Wanaque Center for Nursing & Rehabilitation, DAB CR 6030
  (2022). Accessed October 2, 2023 https://www.hhs.gov/about/agencies/dab/decisions/alj-decisions/2022/alj-cr6030/index.html
  42
     Rose Ann Paguirigan v. Prompt Nursing Employment Agency LLC, d/b/a SentosaCare, LLC., et al. 17-CV-1302 (NG) (JO)
  (E.D.N.Y. Sep 23, 2019). United States District Court Eastern District of New York
  43
     Ibid. 2.

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           PERSICHILLI, SEJAL HATHI and MATTHEW PLATKIN. Plaintiff states for the record

           that SentosaCare continues to operate the facilities in New York and New Jersey, complaints

           of neglect an open-source voluminous record, despite the intervening period of time, absent of

           public health crisis, the Defendants have knowingly continued in their dereliction of

           responsibility to the citizens. Plaintiff attaches EXHIBIT 21.

       130.         Plaintiff states that since as far back as 2002, SentosaCare’s reputation has been known

           to Defendants, including and specifically, CHARLES “CHUCK” SCHUMER. Plaintiff

           attaches EXHIBITS 22 and 23. The Defendant having evidenced donations to the Defendant,

           the DEMOCRATIC NATIONAL COMMITTEE as well his personal campaign a higher

           priority than the interest of human lives. Defendant, CHARLES “CHUCK” SCHUMER and

           the Philippine President, Gloria Macapagal-Arroyo corresponded on at least 4-occasions

           asking that “the officials meet with SentosaCare’s executives or to ‘consider reviewing’ the

           Woodmere company’s case after the country suspended the company’s affiliated recruitment

           operation. Macapagal-Arroyo’s former chief of staff said that the Schumer letters were

           unprecedented. Shortly after two Schumer letters sent the same day, the Philippine

           government lifted the suspension. SentosaCare’s Filipino recruitment pipeline was back in

           business. Over the next two months, a national campaign fund head by Schumer received

           nearly $75,000 from investors, attorneys, and vendors for SentosaCare-affiliated nursing

           homes.”44 The article states that on at least seven occasions, the herein Defendants accepted

           donation funds, helped with work visas despite a history of substandard treatment of staff,

           advocated for activation of recruitment licensure from another nation-state having full

           knowledge of the company’s shortcomings. Plaintiff reiterates the foregoing facts, 115, 116,


  44
     Amon, Michael. How a Long Island Nursing Home Empire Got Its Way. January 5, 2008. Accessed October 15, 2023
  https://michaelamon.wordpress.com/2008/01/05/how-a-long-island-nursing-home-empire-got-its-way

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       117, and 118. Had the Defendants, CHARLES “CHUCK” SCHUMER and the

       DEMOCRATIC NATIONAL PARTY taken appropriate action the future harms that took

       place would have been avoided. Plaintiff iterates culpability extends to the herein Defendants.

       The article discloses atrocious actions by the Defendants that speak to absolute corruption, a

       longevity of known to the Defendants. Exceeding the events of the Wanaque Center, COVID-

       19 for as heinous as they were, the facts of and related to SentosaCare speak to the larger

       picture, of and related to the BCCI structure, Plaintiff reiterates claims and Counts herein

       against the inclusive Defendants.

    131.      Plaintiff states, as a matter of public record, layering the protocols and safeguards of

       State legislatures, as reference above, Public Law 107-108, June 12, 2002, entitled Public

       Health Security and Bioterrorism Preparedness and Response Act of 2002, having very nearly

       identical safeguards, in some cases exceeding those enacted at the State level, these should

       have served as a safety net, beyond the Naval vessels, manned and prepared for patients; the

       policies were not followed and the patience never arrived, they were locked down and masked

       up, in some cases, zipped into a non-descript bag their families contacted thereafter advising of

       their passing. The failures on the part of the Defendants are abhorrent and unacceptable,

       justice demands venue for the atrocities that befell New York and New Jersey with every

       safeguard ignored by the Defendants, ANDREW CUOMO, KATHY HOCHUL, LETITIA

       JAMES, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI and

       MATTHEW PLATKIN.

    132.      Multiple layers of governmental entities were aware of or had been directly involved in

       the body of Wanaque Center data and findings, the repository of which is irrefutable given the

       repository of reports as provided for in the exhibits; these include the CDC, NIH, HHS, CMS,



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       IRS, SEC, the New Jersey Legislature as well the herein named Defendants. Plaintiff restates

       her claims.

    133.      Based on the facts herein, the Defendant, MERRICK GARLAND has proven the DOJ

       investigative staff either inept or a co-Conspirator, given to oration, acumen and voluminous

       legal actions of record in the Defendant’s tenure, Plaintiff alleges the latter and reasserts the

       allegations set forth above. Plaintiff reiterates and emphasizes the fact that the Defendant

       disclosed her controlled knowledge of the Wanaque incident in utilizing the specific term

       cohorting within the DOJ report. Defendant cherry picked content to dissuade liability while

       altogether dismissing the human depravity associated, these actions provide willful

       concealment, 52 U.S.C. §20702 and 18 U.S.C. §2422.

    134.      Plaintiff reasserts each claim in the “Parties” directory of Defendants, and moreover,

       Plaintiff adds the voices of the children among those honored herein; God chooses the time of

       passing, human origin to the contrary is a punishable offense, abhorrent and demanding of

       accountability.

    135.      In May, 2020 Dr. Rick Bright, resigned from Biomedical Advanced Research and

       Development Authority (“BARDA”), formerly serving as the deputy assistant secretary for

       preparedness, response and director of BARDA, filing a whistleblower complaint thereafter

       alleging “abuse of HHS authority, gross mismanagement...(in) an effort to fund potentially

       dangerous drugs promoted by those (entities) with political connections, (and an atmosphere)

       fueled largely by pressure from HHS leadership to ignore scientific merit and expert

       recommendations and instead to award lucrative contracts based on political connections and




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           cronyism.”45 Plaintiff asserts that her autonomous research resulted in nearly identical

           findings as that of Dr. Bright and reiterates her claims hereto.

       136.         On August 20, 2020, the NIH and HHS announced a collaboration with Johnson

           & Johnson (“J&J) via Janssen Pharmaceutical Companies (“Janssen”) to develop large-

           scale manufacturing and delivery of its COVID-19 vaccine candidate, excerpt below:

                    The vaccine candidate was developed under the supervisory authority of the
                    Biomedical Advanced Research and Development Authority (“BARDA”), part of the
                    HHS Office of the Assistant Secretary for Preparedness and Response, collaborated
                    with DoD Joint Program Executive Office for Chemical, Biological, Radiological and
                    Nuclear Defense (“JPEO-CBRND”) and Army Contracting Command…the
                    government…can acquire additional doses (of) up to a quantity sufficient to vaccinate
                    300 million people…investigational vaccine relies on Janssen’s recombinant
                    adenovirus technology, AdVac, that vaccine received European Commission approval
                    and was used in the Democratic Republic of the Congo (DRC) and Rwanda during the
                    2018-2020 Ebola outbreak…46

       137.         In May, 2022, the House Select Subcommittee on the Coronavirus Crisis and the

           Committee on Oversight and Reform held a joint hearing 47 regarding the federal

           contractor, Emergent BioSolutions, who received a federal contract under Operation

           Warp Speed at the direction of the FDA to facilitate production of the Janssen vaccine

           product. Under sworn testimony, Emergent BioSolutions executives would state that an

           error occurred which crossed production lines between Aster Zeneca and the Janssen

           products resulting in contamination of the Janssen adenovirus vector-based one dose

           vaccine with Aster Zeneca product. The contamination remained undisclosed at the time

           of the cross-contamination incident, allowing the vaccine to go to market

  45
     Bennett, Geoff; Gregorian, Dareh. “Ousted HHS Official Files Whistleblower Complaint on Coronavirus Response,”
  NBCNews.com, Accessed August 18, 2022, https://www.nbcnews.com/politics/white-house/ousted-hhs-official-files-
  whistleblower-complaint-coronavirus-response-n1200681
  46
     August 5, 2020, Department of Defense (Press Release). “HHS, DoD Collaborate with Johnson & Johnson to Produce Millions
  of COVID-19 Investigational Vaccine Doses.” August 5, 2020. Accessed January 10, 2021
  https://www.defense.gov/News/Releases/Release/Article/2301220/hhs-dod-collaborate-with-johnson-johnson...
  47
     Press Release. Committees’ Report on Emergent BioSolutions Uncovers Extensive Vaccine Manufacturing Failures,
  Deliberate Efforts to Hide Deficiencies. Accessed October 15, 2023 https://oversightdemocrats.house.gov/news/press-
  releases/committees-report-on-emergent...

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       patient/recipients of the vaccine. As stated during the above hearing, Janssen’s onsite

       production staff would find the cross-contamination error, Emergent concealed the truth

       until the time of the hearing, while under oath.

    138.         On March 13, 2021, the FDA and CDC paused use of the Janssen one-dose

       vaccine product, the remaining Janssen inventory (12.5 million doses) along with the

       Aster Zeneca lots, unauthorized for use in the United States by the FDA, both production

       lines were placed on hold and would be subsequently destroyed by the government

       contractor, Emergent BioSolutions. Subsequently, the extremely rare clotting disorder

       was broadcast by media, domestically and internationally, presently a matter of public

       record. Plaintiff asserts an incongruence in the organic flow of consumer information

       concerning the vaccine products available to that of side effects; wherein the Moderna

       and Pfizer product side effects were downplayed, in some cases, the media fact-checking

       CDC reports of vaccine injury, also a matter of public record. Plaintiff has a background

       in clinical research, Rx to OTC and CRO, specifically and is drawing on that experience

       herein.

    139. Plaintiff asserts that between January and February, 2021, prior to the Senate

       coronavirus hearing, the CEO of Emergent BioSolutions (“Emergent”) sold off stock in

       the company, assuring his gains of $7.6m secure, as reflected in security filings. Plaintiff

       researched Emergent’s litigant and its’ contractual history which, in fact, is voluminous

       with specifically investor complaints citing overinflated income statements which were

       forecasted by anticipated government contracts and later recanted and adjusted in scope

       or volume. Plaintiff asserts which the record affirms, this rudimentary research was not

       undertaken in advance of awarding the Emergent partner contract appears odd given the



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       weight placed on the importance of the project. As the Investors learned of the security

       filing, they filed suit, citing inflated earnings projections while withholding the ongoing

       warehouse and production issues.

    140. November, 28, 2023, despite the foregoing serious violations and allegations including

       deceptive business practices, Emergent was subsequently awarded a $75m Contract

       Option from BARDA to procure doses of cyfendus (anthrax vaccine).

    141. On September 18, 2001, governmental offices were reporting receipt of letters

       containing anthrax, resulting in the death of five (5) people and 17 known infections, the

       FBI would later determine than an American microbiologist, Bruce Edward Ivans was the

       perpetrator; however, the AMERITHRAX case, as it was deemed by the FBI so too

       would resurface during COVID-19. BioPort merged with Emergent , the federal

       contractor who had caused a cross-contamination of pharmaceutical drugs, attempting to

       mask their error by misrepresenting facts to FDA and primary Janssen inspectors, is in

       fact the very same who received the federal contract following the AMERITHRAX

       events. Plaintiff asserts there is no coincidence, in point of fact, Jerome Hauer, who was

       member of the World Association of Disaster and Emergency Medicine, Advisor for

       Johns Hopkins School of Public Health (Humanitarian Health) and Associate Editor at

       the Journal of Special Operation Medicine, Director of Office of Emergency

       Management (NYC), before joining Teneo Risk and later, Kroll Investigative firm with

       his former associate, Bill Bratton. Mr. Hauer would also serve on the Board of Emergent.

       Mr. Hauer had an office in Building 7, World Trade Center (“WTC”), serving as the head

       of security for the WTC. Plaintiff asserts a causal relationship, as to Emergent, reserving

       the right to call as a co-Defendant.



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    142. Admiral William J. Crowe, formerly with BioPort. Admiral Crowe served as a former

       Ambassador in the United Kingdom (Great Britain), Northern Ireland and was part of the

       accountability review boards established after the American Embassies were bombed in

       Africa, he was appointed to serve as Chair of the Intelligence Oversight Board. His later

       appointment as Ambassador to Britain was by Defendant, WILLIAM J. CLINTON.

       There are sourced reports that confirm Admiral Crowe, among others, had sold anthrax to

       Saddam Hussein for use against Iran. Plaintiff reiterates demand for documents of and

       belonging to the People of these United States, held wrongly by the Defendants.

    143. The anthrax vaccine produced by BioPort would result in extensive injury among our

       endeared veterans, Plaintiff asserts this too is a matter of judicial record, indisputable.

       The vaccine contract was granted through no-bid, very much the same as the P3

       examples under ARPA and TARP, the taxpayers were beholden to the contract, absent

       legal thresholds. BioPort was deemed to have price gauged during the crisis.

    144. At the time the COVID-19 outbreak, our vaccine stockpiles, overseen by the Pentagon

       were unprepared. Plaintiff’s research found that Fuad El-Hibri, the business partner of

       Admiral Crowe was of German – Lebanese descent, having worked for Porton

       International who sold anthrax vaccine to Middle Eastern nation-states including Saudi

       Arabia during the Gulf War. BioPort was in charge of the United States national vaccine

       stockpiles under the direction of the Pentagon. Plaintiff reiterates her claims herein.

    145. Plaintiff affirms that on September 9, 2021, President Biden issued two Executive

       Orders, mandating vaccines for federal workers and contractors as well as new

       requirements for large employers, and healthcare providers affecting 100 million

       workers, roughly two-thirds of the U.S. workforce. “We’ve been patient, but our patience



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           is wearing thin…Let me be blunt: my plan also takes on elected officials and States that

           are undermining you and these life-saving actions…if these governors won’t help us beat

           the pandemic, I will use my power as president to get them out of the way.” 48

       146.          In December, 2021, “the CDC downgraded J&J’s vaccine, saying that the mRNA-

           based vaccines should be the preferred vaccines against COVID-19…in May, 2022, the

           FDA limited the use of the vaccine to those ages 18 and older who were unable or

           unwilling to get an alternative vaccine.” 49

                                                          VOTER CAGING

       147.          A Consent Decree was issued following settlement between the Democratic National

           Committee and the Republican National Committee following violation of the Voting Rights

           Act, 42 U.S.C. §§1971, et seq. Democratic Nat’l Comm. v. Republic Nat’l Comm., 671 F.

           Supp. 2d 575, 579 (D.N.J. 2009), aff’d, 673 F.3d 192 (3d Cir. 2012), cert. denied, 133 S. Ct.

           931 (2013). For the benefit of the People, the Order issued on November 5, 2016. The

           original consent decree was issued in 1982, holding of record by way of pleadings, modifying

           in 1987 and 2009 through December, 2017, holding to all 50-States, when it again was called

           forward into legal argument by the DNC with allegations that the RNC had violated the Order.

           The Honorable John M. Vasquez, J.D. ruled that the decree had expired in December, and

           would not be extended.50 There were two areas of the settlement defined in the Consent

           Decree relevant to this plea of the People:




  48
     Pettypiece, Shannon, Przybyla, Heidi, et al., Biden Announces New Plan to Combat COVID Surge. Accessed October 10,
  2023 https://www.nbcnews.com/politics/white-house/biden-announce-additional-vaccine-mandates-he-unveils-new-covid-
  strategy-n1278735
  49
     Mole, Beth. J&J’s COVID vaccine is Dead in the US; FDA Revokes Authorization. June 6, 2023. Accessed September 6,
  2023 https://arstechnica.com/health/2023/06/j-fda-revokes-authorization/
  50
     Gerstein, Josh. “Judge ends consent decree limiting RNC “ballot security activities” January 9, 2018. Retrieved August 3,
  2022. [POLITICO] https://www.politico.com/story/2018/01/09/rnc-ballot-security-consent-decreee-328995

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                     (d) refrain from giving any directions to or permitting their employees to campaign

           within the restricted polling areas or to interrogate prospective voters as to their qualifications

           to vote prior to their entry to a polling place;

                     (e) refrain from undertaking any ballot security activities in polling places or election

           districts where the racial or ethnic composition of such districts is a factor in the decision to

           conduct, or the actual conduct of, such activities there and where a purpose or significant

           effect of such activities is to deter qualified voters from voting; and the conduct of such

           activities disproportionately in or directly toward districts that have a substantial proportion of

           racial or ethnic populations shall be considered relevant evidence of the existence of such a

           factor or purpose[.]51

       148.          Under Section 319 of the Public Health Service Act (42 U.S.C. 247d), The Secretary of

           Health and Human Services (“HHS”) issued the initial public health emergency, same was

           incorporated into the Presidential Proclamation 9994 of March 13, 2020, (“Proclamation”),

           “Declaring a National Emergency Concerning the Novel Coronavirus (COVID-19)

           Outbreak.”52 The Proclamation directives, holding to section 319F-3 of the Public Health

           Service Act (42 U.S.C. 247d-6d), extend to the inclusive federal partners, among them the

           NIH, CDC, HHS, WHO, DoD, the WHO, having made similar declaration on March 12, 2020.

           The Proclamation would rightly cite inclusive adjustments for “Emergency Authority,” Section

           1 for the HHS Secretary regarding Medicare, Medicaid, State Children’s Health Insurance

           programs and the Health Insurance Portability and Accountability Act Privacy Rule to be



  51
     Democratic National Committee, et al. v Republican National Committee, et al. Civil Action 81-08367, Opinion. November 5,
  2016.
  52
     Federal Register. March 18, 2020. Presidential Documents. Proclamation 9994 of March 13, 2020, Declaring a National
  Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak. Accessed January 10, 2022
  https://www.federalregister.gov/documents/2020/03/18/2020-05794/declaring-a-national-emergency-concerning-the-novel-
  coronovirus-disease-covid-19-outbreak

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               retained throughout the duration of the public health emergency; “Certification and Notice”,

               Section 2 respecting the Legislative Branch and “General Provisions,” Section 3 which served

               to reiterate the existing guardrails of government, “authority granted by (standing) law to an

               executive department or agency, or the head thereof, or…functions of the Director of the

               Office of Management and Budget.”53 As facts will provide, the Proclamation became a venue

               and signal to action on the part of the Defendants.

         149.         Plaintiff reiterates those findings expressed in the Executive Summary attached, exhibit

               28.

         150.         Plaintiff states without equivocation that the elections in New Jersey demand

               evaluation in process and protocol, there exist gaps for the current protocol where chain of

               custody is broken and cannot be reestablished.

         151.         Plaintiff states that vote by mail invites opportunity for manipulation that would not

               otherwise exist.

         152.         Plaintiff contents that Defendants GEORGE NORCROSS and UNITED

               HEALTHCARE breached Section 1 of the HHS directive regarding Medicare, Medicaid, State

               Children’s Health Insurance programs and the Health Insurance Portability and Accountability

               Act Privacy Rule.

         153.         Plaintiff further contents that Defendant, GEORGE NORCROSS brokered elections in

               New Jersey, using bribery, coercion, and that his co-Defendants, JAMES PITTINGER, LISA

               SELLA and ROBERT JUNGE colluded with those actions, up to and including bribery.




  53
       Ibid. (12).

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       154.          Plaintiff contents that the motive in the case of Defendant, GEORGE NORCROSS

           regards his interests in the cannabis lobby and asserts that the same holds true of Defendant

           JAMES PITTINGER, but for the lobbying.

       155.          Plaintiff contends that the Defendants, GEORGE NORCROSS, PHILIP MURPHY and

           JAMES PITTINGER acted at the bequest of co-Defendants herein so as to peddle and

           influence the election, a gross violation of Plaintiff’s Civil Rights by the inclusive parties.

       156.          Plaintiff states that Defendant, LISA SELLA violated the HATCH Act in her knowing

           conduct and action and conducted electioneering on behalf of other parties as an employee of

           the municipality, using her capacity to do so.

       157.          Plaintiff contends that Defendant ROBERT JUNGE retains no official Title, absent

           doing the work required in such an elected capacity as municipal co-Chair.

       158.          On January 30, 2020, the National Association of Secretaries of State held their winter

           conference in Washington D.C. The keynote given by Clint Watts, 54 an author of vocational

           experience in terrorism, counterterrorism and the Federal Bureau of Investigation (“FBI”). 55

           Mr. Watts gave testimony to the Intelligence Committee on March 30, 2017 , expanded in a

           March, 2021 blog article which he co-authored, Foreign Interference in Elections 2022 and

           2024: What Should We Be Prepared For?, for the Foreign Policy Research Institute.56 In

           support of Plaintiff’s claims, Mr. Watts speech and blog articles, attached as EXHIBIT 24.

       159.          On February 8, 2020, The National Governors Association met in Washington, D.C.,

           with 44 Governors in attendance, the presentations focused primarily on State efficiency,



  54
     National Association of Secretaries of State, January 31, 2020. Session: Election Security – Clint Watts. Accessed January 10,
  2022 https://www.c-span.org/video/?468802-1/national-association-secretaries-state-discussion-election-security
  55
     CSPAN, National Association of Secretaries of State, Winter Conference. January 31, 2020, Washington, D.C. Accessed
  January 10, 2022 https://www.c-span.org/video/?468802-1/national-association-secretaries-state-discussion-election-security
  56
     Watts, Chris; Chernaskey, Rachel. Foreign Interference in Elections 2022 and 2024: What Should We Prepare For? March 15,
  2021. Accessed October 1, 2023 https://www.fpri.org/fie/future-election-research-misinformation-disinformation

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           economic development, infrastructure, and private sector engagement through public private

           partnerships (“P3”). The keynote speaker, then-Secretary of State Michael Pompeo with guest

           speaker, Speaker of the House of Representatives, Nancy Pelosi. Other presenters included

           private industry, global entities, Canadian premiers with the inclusive presentations having a

           primary focus on P3, infrastructure and economic development areas with suggestions and

           examples provided to those in attendance. 57

       160.         The Impeachment proceeding against the sitting President, Donald J. Trump, was

           televised commencing December 18, 2019, running concurrent with the National Association

           of Secretaries of State as well the National Governors Association conferences. The principal

           weight of factors cited by the House of Representatives involved foreign interference in

           elections by solicitation, final charges levied were (1) abuse of power and (2) obstruction of

           Congress (Article II); the President would be acquitted by the Senate, the Senate trial so too

           being televised commencing January 16, 2020 through February 5, 2020, running concurrent

           with the conferences.

       161.         On April 13, 2020, Andrew Cuomo announced by recorded press conference that New

           York, New Jersey, Connecticut and Massachusetts would work together on reopening

           following the Executive directive and being closest to the People, boots on the ground. The

           Defendant herein, consented to work together and are collective in their actions as well their

           culpability.

       162.         The President, holding Executive authority, announced a phased-in reopening

           commencing April 16, 2020 leaving discretion to the Governors of phased reopening,

           respecting the Tenth Amendment, while providing for specific scientific and medically


  57
    National Governors Association, 2020 Winter Meeting. February 8, 2020. Accessed August 14, 2023 [CSPAN]
  https://www.c-span.org/video/?469104-101/national-governors-assocation-2020-winter-meeting

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            informed guidelines, developed and introduced by Drs. Birx and Fauci, as designated

            authorities by the President drawing on their well-regarded longevity of governmental

            experience in HHS, NIH and implementation of the President’s Emergency Plan for

            AIDS/HIV Relief (“PEPFAR”) at the appointment of Defendant, Barack Obama The succinct

            guidelines for phased reopening provided clear benchmarks, building on the economic

            partnerships established under Operation Warp Speed in combination with those which

            preexisted the temporary shut- to stop the spread at the medical and scientific informed

            recommendations of experts, Drs. Birx and Fauci. The Defendant Governors were empowered

            under the auspices of the Tenth Amendment concerning the economic reopening while

            provided specific benchmarks and guardrails for guidance.

       163.           On August 26, 2020, Assistant Attorney General Eric Dreiband proffered a letter to

            Governor Murphy, New Jersey, citing the CRIPA (42 U.S.C. §1997). A subsequent letter of

            October 27, 2020, authored by Assistant Attorney General Eric Dreiband and United States

            Attorney Craig Carpenito, requesting Governor Murphy’s responsive records, finding the

            previous query answer insufficient. The DOJ commenced an investigation pursuant to the

            Civil Rights of Institutionalized Persons Act (“CRIPA”) (42 U.S.C. §1997) specific to the New

            Jersey Veterans Memorial Home at Menlo Park and the New Jersey Veterans Memorial Home

            at Paramus.58 There were no further disclosed communications regarding the investigation

            until September 7, 2023, when the DOJ released investigative findings regarding the Veterans

            care facilities,59 Plaintiff analyzed the report and associated findings. Plaintiff refers to DoD


  58
     Dreiband, Eric S., Assistant Attorney General Civil Rights Division, and Carpenito, Craig, United States Attorney, District of
  New Jersey. Letter to Governor Phil Murphy, Investigation of New Jersey Veterans Memorial Home at Menlo Park and New
  Jersey Veterans Memorial Home at Paramus. October 27, 2020 Accessed January 10, 2022. FOI/PA NO.22-001460-F.
  59
     United States Department of Justice, Civil Rights Division, United States Attorney’s Office, District of New Jersey,
  Investigation of the New Jersey Veterans Memorial Homes at Menlo Park and Paramus. September 7, 2023. Accessed
  September 7, 2023, https://thehill.com/homenews/state-watch/4192639-doj-new-jersey-violated-constitution-with-veterans-
  covid-care

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            memorandum of August 3, 2022, regarding the Records Management Responsibilities, same

            holding to the DoD Instructions 5015.02 and 8170.01 under the Federal Records Act and

            retention of staff text, phone, etc. same holding to the Defense Production Act (See The

            Defense Production Act of 1950, as amended [50 U.S.C. § 4501 et. seq.] Current through P.L.

            115-232,enacted August 13, 2018).

       164.           Plaintiff analyzed the DOJ report issued September 7, 2023, which rightly identified

            CRIPA violations in the less than stellar care of Veterans at Menlo Park and Paramus during

            COVID-19 citing, “numerous failures, including poor communication and the lack of staff

            competency that allowed the virus to spread virtually unchecked through the facilities,

            (concluding that the two Veterans facilities) … face unreasonable risk and harm, citing poor

            infectious control practices and medical care.” 60 There have been no further DOJ investigative

            reports issued regarding the co-Defendant States’ handling of nursing home residents to the

            Plaintiff’s knowledge. A subsequent report was issued by the Department of Health and

            Human Services, (“HHS”) Office of Inspector General, Christi A. Grimm, investigative

            findings entitled, “New Jersey Could Better Ensure that Nursing Homes Comply with Federal

            Requirements for Life Safety, Emergency Preparedness, and Infection Control.” 61 Plaintiff

            analyzed the Grimm report which included reporting for multiple States, inclusive of named

            co-Defendants, each associated report was accessed and likewise reviewed.

       165.           Plaintiff worked throughout New Jersey and in each State, including New York to train

            individuals on a design model called the 7-Points of Evidence, the protocol included extensive




  60
     Department of Justice, Civil Rights Division, United States Attorney’s Office, District of New Jersey. Investigation of the New
  Jersey Veterans Memorial Homes at Menlo Park and Paramus. September 7, 2023. [The Hill] Accessed September 7, 2023.
  https://thehill.com/homenews/state-watch/4192639-doj-new-jersey-violated-constitution-with-veterans-covid-care
  61
     Grimm, Christi A., New Jersey Could Better Ensure That Nursing Homes Comply With Federal Requirements for Life Safety,
  Emergency Preparedness, and Infection Control. September, 2023. Accessed October 3, 2023 public.affairs@oig.hhs.gov

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       spreadsheets, FOIA analysis and election records review. The Executive Summary attached as

       EXHIBIT 28.



                                                COUNT

                                   BARACK HUSSEIN OBAMA

    166.      Plaintiff speaks to the release of the Defendant, BARACK HUSSEIN OBAMA’s birth

       certificate and civil service registration. Plaintiff has appreciative knowledge in matters

       involving the Middle East, as concerns the passport provided, Plaintiff contends that the

       document not unlike other individuals of the time period, obtained or secured false passports

       as a means and method of free movement apart from the areas of conflict. Plaintiff contends

       that the Defendant was not eligible under the Constitutional, Article II, Section I to run for

       President.

    167.      Plaintiff contends that the $1.7 billion which the Defendant, BARACK HUSSEIN

       OBAMA sent to Iran drawn from central banks in Switzerland and the Netherlands was

       promised to Americans who had won lawsuits against Iran in United States Courts. Plaintiff

       refers specifically to the OFAC Settlements of 2014, associated with (Peterson, for the Est. of

       Knipple v. Islamic Republic of Iran, 10 Civ. 4518) to which the Plaintiff was entitled to the

       award of $1.75 billion in blocked assets, advocating for themselves, they were awarded

       $151,901,000.00 facilitated through Deutsche Borse AG and Clearstream. Plaintiff states that

       a President of the United States should rightly have the interest of his citizenry at the forefront

       of policy. If the funds provided to Iran were as reported, Plaintiff requests full transparency of

       unredacted documents of consent agreements and the like.




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    168.      Plaintiff makes demand of transparency regarding bonds transacted resulting from

       corrupt practices from foreign emoluments and unlawful activities including trafficking to

       which the Defendant, BARACK HUSSEIN OBAMA was party in among the co-Defendants.

                                                COUNT

                                         GEORGE W. BUSH

    169.      Plaintiff states that the Defendant, GEORGE W. BUSH did knowingly collude among

       parties so as to hide, deceive and/or contrive the true facts regarding September 11, 2001, as

       herein provided.

    170.      Plaintiff states that the Defendant, GEORGE W. BUSH capitulated among parties in

       negotiations of the financial collapse as it interfaced with the ongoing bank failures associated

       with money laundering, specifically those of foreign influence including but not limited to

       Princess Haifa bin Faisal, the wife of Saudi Arabian ambassador Bandar bin Sultan through

       Riggs Bank. Plaintiff seeks full transparency of all related documents, unredacted.

    171.      Plaintiff contends that BCCI continued in perpetuity, albeit under another name(s).

       Plaintiff seeks disclosure by the Defendant, GEORGE W. BUSH of and full transparency of

       such disclosure, up to and including those associated with the “28 pages.”

    172.      Plaintiff reiterates those claims herein stated.

                                                      COUNT

                                          WILLIAM J. CLINTON

    173.      Plaintiff states claims herein incorporated.



                                                 HARMS




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    169.      Plaintiff reiterates the claims stated above, the actions of the co-Defendants witnessed

       by their evidenced written hands authored - Executive Orders, pontification and vitriol – of

       their volition, stand in evidence of subversive treason; however, when you combine those

       actions with Mr. Watts speech as well the extensive Federal Register record, the claims

       become irrefutable. This claim extends as much to the Legislative bodies who coalesced in

       and among the Defendants named, as to their Administrative staff and non-profit associates.

    170.      Based on the facts herein, the Defendant, MERRICK GARLAND’s report as provided

       by Kristin Clarke, given to oration, acumen, and voluminous legal actions of record in the

       Defendant’s tenure, Plaintiff alleges the latter and reasserts the allegations set forth above.

       Plaintiff reiterates and emphasizes the fact that the Defendant disclosed her controlled

       knowledge of the Wanaque incident in utilizing the specific term cohorting within the DOJ

       report. Defendant cherry picked content to dissuade liability while altogether dismissing the

       human depravity associated, these actions provide willful concealment of the facts 52 U.S.C.

       §§20702 and 10307(b) and 18 U.S.C. §2422. The knowing delay of the COVID-19 nursing

       home investigation caged the voters of New Jersey, suppressing their inclusive Civil Rights by

       knowingly withholding knowledge of immense proportion; these actions so too extend to the

       24-States for which the DOJ imposed itself.

    171.      Plaintiff retains an appreciative directory of Freedom of Information Act (FOIA) and

       Open Public Records Act (OPRA) responsive records concerning elections of 2016 – present,

       election actions or inactions, as the case may be.

    172.      Plaintiff calls to the 1982 negotiated settlement between the Democratic National

       Committee and the Republican National Committee and the facts herein provided. Plaintiff

       asserts that the body of Defendants have recapitulated to §(d) of the 1982 Decree, having held



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         the People hostage for thirty-five years by plea, the parties have now seen fit to hold them

         hostage by fiat of COVID-19, a mask to their atrocities while we, the People, bury our dead

         and mourn. The magnitude of the Defendant’s traverse on the People’s Constitutional Rights

         is reprehensible.

     173.        Plaintiff states unequivocally that the BCCI model is active. Plaintiff has had a client

         who disclosed the EXHIBIT 29 involving the exact mapping of BCCI.

     174.        Based on the stated facts herein, the People of these United States have had their

         sovereign voices held hostage, manipulated, cajoled, and, as the record will show in discovery

         and the Liberty Project Report provides resurrected from the dead, yet those seeking to

         champion the cause of protections, inclusive of the co-Defendants, continue to enact and

         codify law further exacerbates an increasingly divided structure built on tenons of ideology to

         that of Country; the People are rightly disgusted, the People’s demand setforth below in

         remedy.

                                         PRAYER FOR RELIEF

         Plaintiff will not posture to political diatribe, seeking favor from no one presently holding

  office, her respect diminishing by the day of such parties. No, on this occasion, the People seek the

  unvarnished truth and so as to corroborate advancing affirmation, God has demanded that the Plaintiff

  amass a repository of facts, for which she obliged. It is anticipated that parties, organizations and

  corporations will seek to refute and counter these claims; in doing so they would be wise to

  understand the magnitude of the People’s righteous disgust, so too of the fact that those who might

  knowingly take such action would be unwittingly implicating themselves as to the allegations herein.

  Plaintiff gathers the honored voices and breath, the only measure which would have authored this

  document, unzipping the bags for the world to behold, the Defendant’s herein named, inclusive of



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  John Doe and Jane Doe, are responsible for these atrocities – no one else and most certainly not God,

  Almighty.

                                                  REMEDY

         Plaintiff has received no compensation for this undertaking, is and remains self-employed and

         unburdened by extraneous influence but for God, Almighty and her faith in same. Plaintiff

         respectfully requests that this Court:

     175.       Declare that Defendant’s actions as described herein set forth in paragraphs 2-5 above

         abridge and deny those rights and statutes enumerated in the Article II, Section 3.1.3.1. Take

         Care Clause, Presidential authority; 18 U.S.C. §1001; 18 U.S.C. §§2384; 2385, Article III

         S3.C1.1.2.

     176.       Issue preliminary and permanent injunctions enjoining the defendants from committing

         actions similar to those described herein in the future.

     177.       Award the Plaintiff $8,000,000,000 in compensatory and punitive damages for the

         deprivation of the rights so infringed by corruptive practice, will and intent as setforth herein.

     178.       Award the plaintiff their attorney fees, costs and disbursements incurred in this action,

         as provided in 28 U.S.C. §1920 and 42 U.S.C.§1988.

     179.       Plaintiff demands, given to the actions herein described, fortified by irrefutable

         supporting facts, that Donald John Trump be placed on the November, 2023 ballot and that

         Joseph R. Biden be removed as Executive of these United States.

     180.       Plaintiff demands that to fortify the People’s rights enumerated, voting be returned to

         one day, the first Tuesday of November and that such voting be in person by paper ballot

         which is to be hand counted. All funds and tangential contractual relationships with

         extraneous computer peripherals be immediately terminated.



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                                        DEMAND FOR JURY TRIAL
          Plaintiff hereby respectfully request a trial by jury for all claims and issues in her Complaint to

  which they are or may be entitled to a jury trial.


                                     CERTIFICATION OF SERVICE

        I HEREBY CERTIFY that I filed today, Friday, March 22, 2024, the foregoing with the

  Federal Clerk of the Court for the United Stated District Court, District of New Jersey, which

  will send notification of such filing to all parties registered for this case, including the

  Defendant’s counsel.




                                                             /s/ Mary B. Logan
                                                             Mary Basile Logan
                                                             Pro-Se Plaintiff




  cc: All Counsel of Record (Via ECF)




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